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                            FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        EPIC GAMES, INC.,                           No. 21-16506
              Plaintiff-counter-
              defendant-Appellant,                    D.C. No.
                                                   4:20-cv-05640-
          v.                                            YGR

        APPLE, INC.,
             Defendant-counter-                       OPINION
             claimant- Appellee.


        EPIC GAMES, INC.,                           No. 21-16695
              Plaintiff-counter-
              defendant-Appellee,                     D.C. No.
                                                   4:20-cv-05640-
          v.                                            YGR

        APPLE, INC.,
             Defendant-counter-
             claimant-Appellant.

                 Appeal from the United States District Court
                    for the Northern District of California
               Yvonne Gonzalez Rogers, District Judge, Presiding

                  Argued and Submitted November 14, 2022
                          San Francisco, California
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        2                  EPIC GAMES, INC. V. APPLE, INC.


                               Filed April 24, 2023

            Before: SIDNEY R. THOMAS and MILAN D. SMITH,
              JR., Circuit Judges, and MICHAEL J. MCSHANE, *
                                 District Judge.

                     Opinion by Judge Milan D. Smith, Jr.;
             Partial Concurrence and Partial Dissent by Judge S.R.
                                   Thomas


                                  SUMMARY **


                                     Antitrust

            The panel affirmed in part and reversed in part the
        district court’s judgment, after a bench trial, against Epic
        Games, Inc., on its Sherman Act claims for restraint of trade,
        tying, and monopoly maintenance against Apple, Inc.; in
        favor of Epic on its claim under California’s Unfair
        Competition Law; against Epic on Apple’s claim for breach
        of contract; and against Apple on its claim for attorney
        fees. The panel affirmed except for the district court’s ruling
        respecting attorney fees, where it reversed and remanded for
        further proceedings.



        *
          The Honorable Michael J. McShane, United States District Judge for
        the District of Oregon, sitting by designation.
        **
           This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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            The panel explained that, when Apple opened the iPhone
        to third-party app developers, it created a “walled garden,”
        rather than an open ecosystem in which developers and users
        could transact freely without mediation from Apple. Epic
        alleged that Apple acted unlawfully by restricting app
        distribution on iOS devices to Apple’s App Store, requiring
        in-app purchases on iOS devices to use Apple’s in-app
        payment processor, and limiting the ability of app
        developers to communicate the availability of alternative
        payment options to iOS device users. These restrictions
        were imposed under the Developer Program Licensing
        Agreement (“DPLA”), which developers were required to
        sign in order to distribute apps to iOS users. The district
        court rejected Epic’s Sherman Act §§ 1 and 2 claims
        challenging the first and second restrictions, principally on
        the factual grounds that Epic failed to propose viable less
        restrictive alternatives to Apple’s restrictions. The district
        court concluded that the third restriction was unfair pursuant
        to the California UCL and enjoined Apple from enforcing it
        against any developer. The district court held that Epic
        breached its contract with Apple but was not obligated to pay
        Apple’s attorney fees.
            On Epic’s appeal, the panel affirmed the district court’s
        denial of antitrust liability and its corresponding rejection of
        Epic’s illegality defense to Apple’s breach of contract
        counter-claim. The panel held that the district court erred as
        a matter of law in defining the relevant antitrust market and
        in holding that a non-negotiated contract of adhesion, such
        as the DPLA, falls outside the scope of Sherman Act § 1, but
        those errors were harmless. The panel held that,
        independent of the district court’s errors, Epic failed to
        establish, as a factual matter, its proposed market definition
        and the existence of any substantially less restrictive
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        alternative means for Apple to accomplish the
        procompetitive justifications supporting iOS’s walled-
        garden ecosystem.
            On Apple’s cross-appeal, the panel affirmed as to the
        district court’s UCL ruling in favor of Epic, holding that the
        district court did not clearly err in finding that Epic was
        injured, err as a matter of law when applying California’s
        flexible liability standards, or abuse its discretion when
        fashioning equitable relief. Reversing in part, the panel held
        that the district court erred when it ruled that Apple was not
        entitled to attorney fees pursuant to the DPLA’s
        indemnification provision.
            Concurring in part and dissenting in part, Judge S.R.
        Thomas wrote that he fully agreed with the majority that the
        district court properly granted Epic injunctive relief on its
        California UCL claims. Judge S.R. Thomas also fully
        agreed that the district court properly rejected Epic’s
        illegality defenses to the DPLA but that, contrary to the
        district court’s decision, the DPLA did require Epic to pay
        attorney fees for its breach. On the federal claims, Judge
        S.R. Thomas also agreed that the district court erred in
        defining the relevant market and erred when it held that a
        non-negotiated contract of adhesion falls outside the scope
        of Sherman Act § 1. Unlike the majority, however, Judge
        S.R. Thomas would not conclude that these errors were
        harmless because they related to threshold analytical steps
        and affected Epic’s substantial rights. He would remand for
        the district court to re-analyze the case using the proper
        threshold determination of the relevant market.
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                                  OPINION

         M. SMITH, Circuit Judge:

              Epic Games, Inc. sued Apple, Inc. pursuant to the
         Sherman Act, 15 U.S.C. §§ 1–2, and California’s Unfair
         Competition Law (UCL), Cal. Bus. & Prof. Code § 17200 et
         seq. Epic contends that Apple acted unlawfully by
         restricting app distribution on iOS devices to Apple’s App
         Store, requiring in-app purchases on iOS devices to use
         Apple’s in-app payment processor, and limiting the ability
         of app developers to communicate the availability of
         alternative payment options to iOS device users. Apple
         counter-sued for breach of contract and indemnification for
         its attorney fees arising from this litigation.
             After a sixteen-day bench trial involving dozens of
         witnesses and nine hundred exhibits, the district court
         rejected Epic’s Sherman Act claims challenging the first and
         second of the above restrictions—principally on the factual
         grounds that Epic failed to propose viable less restrictive
         alternatives to Apple’s restrictions.       The court then
         concluded that the third restriction is unfair pursuant to the
         UCL and enjoined Apple from enforcing it against any
         developer. Finally, it held that Epic breached a contract with
         Apple but was not obligated to pay Apple’s attorney fees.
         Epic appeals the district court’s Sherman Act and breach of
         contract rulings; Apple cross-appeals the district court’s
         UCL and attorney fees rulings. We affirm the district court,
         except for its ruling respecting attorney fees, where we
         reverse and remand for further proceedings.
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               FACTUAL AND PROCEDURAL HISTORY
         I.      The Parties
             Apple is a multi-trillion-dollar technology company that,
         of particular relevance here, sells desktop and laptop
         computers (Macs), smartphones (iPhones), and tablets
         (iPads). In 2007, Apple entered, and revolutionized, the
         smartphone market with the iPhone—offering consumers,
         through a then-novel multi-touch interface, access to email,
         the internet, and several preinstalled “native” apps that
         Apple had developed itself. Shortly after the iPhone’s debut,
         Apple decided to move on from its native-apps-only
         approach and open the iPhone’s (and later, the iPad’s)
         operating system (iOS) to third-party apps. 1
             This approach created a “symbiotic” relationship: Apple
         provides app developers with a substantial consumer base,
         and Apple benefits from increased consumer appeal given
         the ever-expanding pool of iOS apps. Apple now has about
         a 15% market share in the global smartphone market with
         over 1 billion iPhone users, and there are over 30 million iOS
         app developers. Considering only video game apps, the
         number of iOS games has grown from 131 in the early days
         of the iPhone to over 300,000 by the time this case was
         brought to trial. These gaming apps generate an estimated
         $100 billion in annual revenue.
            Despite this general symbiosis, there is periodic friction
         between Apple and app developers. That is because Apple,
         when it opened the iPhone to third-party developers, did not

         1
           The iPad has its own operating system (iPadOS) that is derived from
         iOS. For convenience, we use “iOS” to refer to both the iPhone and
         iPad’s operating systems and collectively refer to iPhones and iPads as
         “iOS devices.”
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         create an entirely open ecosystem in which developers and
         users could transact freely without any mediation. Instead,
         Apple created a “walled garden” in which Apple plays a
         significant curating role. 2 Developers can distribute their
         apps to iOS devices only through Apple’s App Store and
         after Apple has reviewed an app to ensure that it meets
         certain security, privacy, content, and reliability
         requirements. Developers are also required to use Apple’s
         in-app payment processor (IAP) for any purchases that occur
         within their apps. Subject to some exceptions, Apple
         collects a 30% commission on initial app purchases
         (downloading an app from the App Store) and subsequent
         in-app purchases (purchasing add-on content within an app).
             Epic is a multi-billion-dollar video game company with
         three primary lines of business, each of which figures into
         various aspects of the parties’ appeals. First, Epic is a video
         game developer—best known for the immensely popular
         Fortnite, which has over 400 million users worldwide across
         gaming consoles, computers, smartphones, and tablets. Epic
         monetizes Fortnite using a “freemium” model: The game is
         free to download, but a user can purchase certain content
         within the game, ranging from game modes to cosmetic
         upgrades for the user’s character. Fortnite is also notable as
         one of the first major video games to feature “cross-play,”
         “cross-progression,” and “cross-wallet.” Cross-play permits
         users on different platforms to play with one another.
         Smartphone users, for example, can play against friends on
         gaming consoles. Cross-progression allows users to retain
         their in-game progress across every device they own. Users

         2
           Many game consoles—including the Microsoft Xbox, Nintendo
         Switch, and Sony PlayStation—provide ecosystems that can similarly be
         labeled “walled gardens.”
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         can, for example, play Fortnite in the morning on their
         smartphones and then pick up with their progress saved on
         their gaming consoles in the evening. Cross-wallet allows
         users to spend Fortnite’s in-game currency on one device
         even if they purchased it on another.           This cross-
         functionality gives the estimated 32 to 52% of Fortnite users
         who own multiple gaming devices flexibility regarding
         where and how they play as well as on which devices they
         make in-game purchases.
             Second, Epic is the parent company of a gaming-
         software developer. Epic International (a Swiss subsidiary)
         licenses Unreal Engine to game developers. Unreal Engine
         offers developers a suite of tools to create three-dimensional
         content; in return, Epic International receives 5% of a
         licensee’s gross revenue from a product developed using
         Unreal Engine after that product generates $1,000,000 in
         revenue. Although Unreal Engine is not on Apple’s App
         Store, Epic International does offer several complementary
         apps there. Unreal Remote and Live Link Face, for example,
         allow users to capture live-action footage and then view it on
         Unreal Engine. Thus, Epic—through its subsidiary—
         continues to be affected by the policies that govern the App
         Store.
             Third, Epic is a video game publisher and distributor. It
         offers the Epic Games Store as a game-transaction platform
         on PC computers and Macs and seeks to do the same for iOS
         devices. As a distributor, Epic makes a game available for
         download on the Epic Games Store and covers the direct
         costs of distribution; in exchange, Epic receives a 12%
         commission—a below-cost commission that sacrifices
         short-term profitability to build market share. The Epic
         Games Store has over 180 million registered accounts and
         over 50 million monthly active users. Through the Epic
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         Games Store, Epic is a would-be competitor of Apple for
         iOS game distribution and a direct competitor when it comes
         to games that feature cross-platform functionality like
         Fortnite.
         II.    The Developer Program Licensing Agreement
             Apple creates its walled-garden ecosystem through both
         technical and contractual means. To distribute apps to iOS
         users, a developer must pay a flat $99 fee and execute the
         Developer Program Licensing Agreement (DPLA). The
         DPLA is a contract of adhesion; out of the millions of
         registered iOS developers, only a handful have convinced
         Apple to modify its terms.
             By agreeing to the DPLA, developers unlock access to
         Apple’s vast consumer base—the over 1 billion users that
         make up about 15% of global smartphone users. They also
         receive tools that facilitate the development of iOS aps,
         including advanced application-programming interfaces,
         beta software, and an app-testing software. In essence,
         Apple uses the DPLA to license its IP to developers in
         exchange for a $99 fee and an ongoing 30% commission on
         developers’ iOS revenue.
             The DPLA contains the three provisions that give rise to
         this lawsuit and were mentioned in the introduction. First,
         developers can distribute iOS apps only through the App
         Store (the distribution restriction). Epic Games, for
         example, cannot make the Epic Games Store available as an
         iOS app and then offer Fortnite for download through that
         app. Second, developers must use Apple’s IAP to process
         in-app payments (the IAP requirement). Both initial
         downloads (where an app is not free) and in-app payments
         are subject to a 30% commission. Third, developers cannot
         communicate out-of-app payment methods through certain
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         mechanisms such as in-app links (the anti-steering
         provision). “Apps and their metadata may not include
         buttons, external links, or other calls to action that direct
         customers to purchasing mechanisms other than [IAP].” Nor
         can developers use “points of contact obtained from account
         registration within the app (like email or text) [to] encourage
         users to use a purchasing method other than [IAP].”
         III.   Apple and Epic’s Business Relationship
             In 2010, Epic agreed to the DPLA. Over the next few
         years, Epic released three games for iOS, each of which
         Apple promoted at major events. In 2015, however, Epic
         began objecting to Apple’s walled-garden approach. Epic’s
         CEO Tim Sweeney argued, in an email seeking a meeting
         with Apple senior leadership, that it “doesn’t seem tenable
         for Apple to be the sole arbiter of expression and commerce”
         for iOS users, and explained that Epic runs a competing
         game-transaction platform that it “would love to eventually”
         offer on iOS. Nothing came of this email, and Epic
         continued to offer games on iOS while complying with the
         DPLA’s terms. In 2018, Epic released Fortnite on iOS—
         amassing about 115 million iOS users.
             In 2020, Epic renewed the DPLA with Apple but sought
         a “side letter” modifying its terms. In particular, Epic
         desired to offer iOS users alternatives for distribution (the
         Epic Games Store) and in-app payment processing (Epic
         Direct Pay). Apple flatly rejected this offer, stating: “We
         understand this might be in Epic’s financial interests, but
         Apple strongly believes these rules are vital to the health of
         the Apple platform and carry enormous benefits for both
         consumers and developers. The guiding principle of the App
         Store is to prove a safe, secure, and reliable experience for
         users . . . .”
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               Once Apple rejected its offer, Epic kicked into full gear
         an initiative called “Project Liberty”: a two-part plan it had
         been developing since 2019 to undermine Apple’s control
         over software distribution and payment processing on iOS
         devices, as well as Google’s influence over Android devices.
         Project Liberty coupled a media campaign against Apple and
         Google with a software update expressly designed to
         circumvent Apple’s IAP restriction. On the media-campaign
         side, Epic lowered the price of Fortnite’s in-app purchases
         on all platforms but Apple’s App Store and Google’s Google
         Play Store; it formed an advocacy group (the Coalition for
         App Fairness), tasking it with “generating continuous media
         . . . pressure” on Apple and Google; and it ran
         advertisements portraying Apple and Google as the “bad
         guys” standing in the way of Epic’s attempt to pass cost-
         savings onto consumers.
             On the IAP-circumvention side, Epic submitted a
         Fortnite software update (which Epic calls a “hotfix”) to
         Apple for review containing undisclosed code that, once
         activated, would enable Fortnite users to make in-game
         purchases without using Apple’s IAP. Unaware of this
         undisclosed code, Apple approved the update and it was
         made available to iOS users. Shortly thereafter Epic
         activated the undisclosed code and opened its IAP
         alternative to users. That same day, Apple became aware of
         the hotfix and removed Fortnite from the App Store. Apple
         informed Epic that it had two weeks to cure its breaches of
         the DPLA, or otherwise Apple would terminate Epic Games’
         developer account.
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         IV.      Procedural History
               A. Pre-Trial Proceedings
             Only three days after Apple removed Fortnite from the
         App Store, Epic filed a 62-page complaint against Apple in
         the Northern District of California seeking a temporary
         restraining order (TRO) reinstating Fortnite and enjoining
         Apple from terminating Epic’s iOS developer account. 3 The
         district court granted Epic’s prayer in part and denied in
         part—leaving Fortnite off the App Store but temporarily
         preventing Apple from taking any adverse action regarding
         Epic’s developer account. After the TRO expired, Apple
         terminated Epic’s developer account. The court then issued
         a preliminary injunction preventing Apple from terminating
         the developer accounts of Epic’s subsidiaries (including
         Epic International) and scheduled a bench trial on an
         expedited basis, with trial beginning just about eight months
         after Epic filed its complaint.
             Epic brought claims for permanent injunctive relief
         pursuant to the Sherman Act and the UCL. Epic’s requested
         relief, though somewhat vague, would essentially convert
         iOS into an entirely open platform: Developers would be
         free to distribute apps through any means they wish and use
         any in-app payment processor they choose. Taken together,
         this relief would create a pathway for developers to bypass
         Apple’s 30% commission altogether, though Epic made
         open-ended assurances at trial that its relief would allow

         3
           The same day, Epic filed a 60-page complaint against Google,
         challenging its policies regarding the Google Play Store on Android
         devices—i.e., smartphones and tablets that use the main operating-
         system alternative to iOS. See Complaint for Injunctive Relief, Epic
         Games, Inc. v. Google LLC, No. 3:20-cv-05671 (filed Aug. 13, 2020
         N.D. Cal.).
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         Apple to collect a commission—just not in the manner that
         the DPLA establishes. Apple brought counter-claims for
         breach of contract and indemnification for its attorney fees
         related to this litigation. 4
              B. The District Court’s Rule 52 Order
             After a sixteen-day bench trial, the district court issued a
         180-page order pursuant to Federal Rule 52 detailing its
         findings of facts and conclusions of law.
                  1. Market Definition
             The district court began its analysis by defining the
         relevant market for Epic’s Sherman Act claims. Epic
         proposed two single-brand markets: the aftermarkets for
         iOS app distribution and iOS in-app payment solutions,
         derived from a foremarket for smartphone operating
         systems. Apple, by contrast, proposed the market for all
         video game transactions, whether those transactions occur
         on a smartphone, a gaming console, or elsewhere. The
         district court ultimately found a market between those the
         parties proposed: mobile-game transactions—i.e., game
         transactions on iOS and Android smartphones and tablets.
         Compared to Epic’s proposed aftermarkets, the district
         court’s relevant market was both broader and narrower—
         broader in that it declined to focus exclusively on iOS, but
         narrower in that it considered only video game transactions
         instead of all app transactions. Compared to Apple’s
         proposed market, the district court’s relevant market was

         4
          We omit any discussion of the following claims that the parties asserted
         below but do not address before our court: (1) Epic’s Cartwright Act
         claims; (2) Apple’s counter-claim for breach of the implied covenant of
         good faith and fair dealing; and (3) Apple’s counter-claim for unjust
         enrichment.
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         narrower—excluding game-console and streaming-service
         transactions.
             The district court rejected Epic’s proposed single-brand
         markets on several grounds. It held that there was no
         foremarket for smartphone and tablet operating systems
         because Apple does not license or sell iOS. More critically,
         it analyzed Epic’s aftermarkets in the alternative and found
         a failure of proof. Epic presented no evidence regarding
         whether consumers unknowingly lock themselves into
         Apple’s app-distribution and IAP restrictions when they buy
         iOS devices. A natural experiment facilitated by Apple’s
         removal of Fortnite from the App Store showed that iOS
         Fortnite users switched about 87% of their pre-removal iOS
         spending to other platforms—suggesting substitutionality
         between the App Store and other game-transaction
         platforms. The district court also rejected Apple’s relevant
         market-definition expert as “weakly probative” and “more
         interested in a result [that] would assist his client than in
         providing any objective ground to assist the court in its
         decision-making” (cleaned up). Among other flaws, the
         expert’s analysis contradicted his own academic articles on
         how to analyze two-sided markets; used consumer-survey
         wording that departed from well-established market-
         definition principles; failed to account for holiday-season
         idiosyncrasies; and excluded minors (who are an important
         segment of mobile-game purchasers). The district court then
         turned to Apple’s proposed relevant market definition and
         refined it from all game transactions to mobile game
         transactions by relying extensively on the “practical indicia”
         of markets enumerated in the Supreme Court’s decision in
         Brown Shoe v. United States, 370 U.S. 294, 325 (1962).
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                2. Sherman Act Section 1: Restraint of Trade
             The district court then rejected Epic’s Sherman Act
         Section 1 restraint-of-trade-claim. As a threshold matter, the
         court held that the DPLA was not a “contract[]” that fell
         within the scope of Section 1 because it was a “contract of
         adhesion,” not a truly bargained-for agreement. It then, in
         the alternative, applied the Rule of Reason—the antitrust
         liability standard applicable to most cases.
             At step one of the Rule of Reason, the district court found
         that Epic proved substantial anticompetitive harms through
         both direct and indirect evidence. Apple has for years
         charged a supracompetitive commission on App Store
         transactions that it set “without regard” for competition.
         That commission, in turn, creates an “extraordinary high”
         operating margin of 75% for App Store transactions.
         Moreover, Apple has market power in the mobile-games-
         transactions market, evidenced by its 52 to 57% market share
         and barriers to entry in the form of network effects. Apple
         uses that market power to prevent would-be competitors like
         Epic from offering app-distribution and payment-processing
         alternatives, reducing innovation and Apple’s own
         investment in the App Store in the process.
             At step two of the Rule of Reason, the district court
         found that Apple established non-pretextual, legally
         cognizable procompetitive rationales for its app-distribution
         and IAP restrictions. The district court credited Apple’s
         rationale that its restrictions seek to enhance consumer
         appeal and differentiate Apple products by improving iOS
         security and privacy. It also partially accepted Apple’s
         rationale that the restrictions are a means of being
         compensated for third-party developers’ use of its
         intellectual property—crediting it generally but rejecting it
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         “with respect to the [App Store’s] 30% commission rate
         specifically.”
             At step three of the Rule of Reason, the district court
         rejected Epic’s proposed less restrictive alternatives (LRAs)
         as severely underdeveloped. As a purported LRA to Apple’s
         app-distribution restriction, Epic primarily advanced a
         “notarization model” based on Apple’s approach to security
         on the Mac operating system (macOS). On macOS, Apple
         does not mandate an exclusive distribution channel, as it
         does on iOS; nor does Apple condition distribution of an app
         on first submitting that app to Apple for review. But when
         a developer chooses to forego submitting an app to Apple,
         that app—regardless of how it is distributed to Mac users—
         will carry a warning that Apple has not scanned it for
         malware. Critically, the macOS notarization model does not
         contain a layer of human review as iOS app review does.
         Given this discrepancy, the district court found that such a
         model would not be as effective as Apple’s current model in
         achieving Apple’s security and privacy goals. It briefly
         considered whether Apple could close the gap by imposing
         a security and privacy floor on third-party app stores, but
         then noted that it is unclear whether doing so would comport
         with Epic’s requested injunctive relief. In any event, the
         court found that Epic failed to prove the notarization model
         would accomplish Apple’s IP-compensation rationale
         because Epic’s requested relief “leave[s] unclear whether
         Apple can collect licensing fee royalties and, if so, how it
         would do so.”
            As a purported LRA for the IAP requirement, Epic
         proposed opening in-app payment processing to competing
         vendors. The district court again rejected the proposed LRA
         as not being as effective as Apple’s current model in
         accomplishing its security and privacy goals. More
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         fundamentally, there was little in the record showing how
         Epic envisioned Apple accomplishing its IP-compensation
         goal through the proposed LRA. Because the court upheld
         the app-distribution restriction, Apple would still be entitled
         to its 30% commission on in-app purchases within apps
         downloaded from the App Store. On its own initiative, the
         district court floated the idea of Apple permitting multiple
         in-app payment processors while reserving a right to audit
         developers to ensure compliance with the 30% commission.
         But it quickly rejected that as an alternative because it
         “would seemingly impose both increased monetary and time
         costs.”
                3. Sherman Act Section 1: Tying
             The district court rejected Epic’s Sherman Act claim that
         Apple ties in-app payment processing (IAP) to app
         distribution (the App Store). It did so on the grounds that
         neither of the purported separate products were actually
         separate. As a result, it did not decide which liability
         standard—per se condemnation or the Rule of Reason—
         would govern the arrangement’s lawfulness.
                4. Sherman Act             Section      2:   Monopoly
                   Maintenance
              The district court also rejected Epic’s claim that Apple
         monopolized the market for mobile-games transactions.
         Though Apple has significant market power, the court found
         it to be insufficiently durable given the rapidly changing
         nature of the market. In any event, the court reiterated its
         Rule of Reason analysis to hold that Apple did not maintain
         its power through anticompetitive conduct.
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                5. Unfair Competition Law
             The court then applied the UCL to Apple’s anti-steering
         provision. The court found that Epic is sufficiently injured
         to seek injunctive relief because Epic is a competing games
         distributor and would earn additional revenue but for
         Apple’s restrictions. On the merits, the court applied the
         competitor-suit “tethering test” and consumer-suit
         “balancing test” and found the anti-steering provision to be
         “unfair” pursuant to both. The court concluded that Epic
         satisfied all the requirements for injunctive relief and the
         nature of Epic’s injury warranted an injunction preventing
         Apple from enforcing the provision against any developer.
                6. Breach of Contract
             Turning to Apple’s counter-claims, the district found
         Epic liable for breach of the DPLA. Epic had stipulated that
         the Project Liberty hotfix breached the DPLA’s IAP
         requirement, so the only dispute was whether Epic could
         prove that the contract was illegal, void as against public
         policy, or unconscionable. The district court rejected each
         of these affirmative defenses.
                7. Attorney Fees
             Finally, the district court rejected Apple’s
         indemnification claim, which asserted Epic was obligated to
         pay its attorney fees incurred in this litigation. The DPLA
         provides that Epic “agree[s] to indemnify and hold harmless
         [Apple] . . . from any and all claims, losses, liabilities,
         damages, taxes, expenses and costs, including without
         limitation, attorneys’ fees and court costs . . . , incurred by
         [Apple] and arising from or related to” Epic’s “breach of any
         certification, covenant, obligation, representation or
         warranty in [the DPLA].” Applying a principle of California
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         contract law requiring a clear statement before finding an
         indemnification clause to apply to disputes between the
         parties themselves, the district court construed the provision
         as applicable only to third-party claims.
              C. Post-Trial Proceedings
             Following the handing down of the district court’s order,
         the parties timely appealed and cross-appealed. Apple also
         moved to stay the UCL injunction pending appeal—arguing
         that Epic lacked standing in light of its developer account
         termination and that injunctive relief was inappropriate. The
         district court denied the motion and a panel of our court
         granted it in part.
              JURISDICTION AND STANDARD OF REVIEW
             We have jurisdiction pursuant to 28 U.S.C. § 1291. In
         an appeal following a bench trial, we review the district
         court’s factual findings for clear error and its conclusions of
         law de novo. Oakland Bulk & Oversized Terminal, LLC v.
         City of Oakland, 960 F.3d 603, 612 (9th Cir. 2020). We
         specify the applicable standards of review throughout our
         opinion.
                                  ANALYSIS
             On appeal, Epic challenges the district court’s Sherman
         Act and breach of contract rulings. We affirm the district
         court’s denial of antitrust liability and its corresponding
         rejection of Epic’s illegality defense to Apple’s breach of
         contract counter-claim. Though the district court erred as a
         matter of law on several issues, those errors were harmless.
         Independent of the district court’s errors, Epic failed to
         establish—as a factual matter—its proposed market
         definition and the existence of any substantially less
         restrictive alternative means for Apple to accomplish the
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         procompetitive justifications supporting iOS’s walled-
         garden ecosystem.
             On cross-appeal, Apple challenges the district court’s
         UCL and attorney fees rulings. We affirm in part and reverse
         and remand in part. The district court did not clearly err in
         finding that Epic was injured, err as a matter of law when
         applying California’s flexible liability standards, or abuse its
         discretion when fashioning equitable relief. The district
         court did, however, err when it held that Apple was not
         entitled to attorney fees pursuant to the DPLA’s
         indemnification provision.
         I.      Market Definition
             We begin with Epic’s appeal. Epic argues that the
         district court incorrectly defined the relevant market for its
         antitrust claims to be mobile-game transactions instead of
         Epic’s proposed aftermarkets of iOS app distribution and
         iOS in-app payment solutions. Epic contends both that the
         district court erred as a matter of law by requiring several
         threshold showings before finding a single-brand market and
         that, once those errors are corrected, the record compels the
         conclusion that Epic established its single-brand markets.
         We agree that the district court erred in certain aspects of its
         market-definition analysis but conclude that those errors
         were harmless. Despite some threshold errors, the district
         court proceeded to analyze Epic’s evidence pursuant to the
         proper legal framework and did not clearly err in rejecting
         Epic’s proposed relevant markets. In particular, Epic failed
         to produce any evidence showing—as our precedent
         requires—that consumers are generally unaware of Apple’s
         app-distribution and IAP restrictions when they purchase
         iOS devices.
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              A. General Market-Definition Principles
             The Sherman Act contains two principal prohibitions.
         Section 1 targets concerted action, rendering unlawful
         “every contract, combination . . . , or conspiracy, in restraint
         of trade.” 15 U.S.C. § 1. Section 2 targets independent
         action, making it unlawful to “monopolize, or attempt to
         monopolize, or combine or conspire with any other person
         or persons, to monopolize any part of the trade or commerce
         among the several States.” Id. § 2; see Copperweld Corp. v.
         Indep. Tube Corp., 467 U.S. 752, 767 (1984) (“The Sherman
         Act contains a ‘basic distinction between concerted and
         independent action.’” (quoting Monsanto Co. v. Spray-Rite
         Serv. Corp., 465 U.S. 752, 761 (1984))). 5
             There are two general categories of liability standards for
         Sherman Act claims. Flaa v. Hollywood Foreign Press
         Ass’n, 55 F.4th 680, 685 (9th Cir. 2022). “A small group of
         restraints are unreasonable per se because they ‘always or
         almost always tend to restrict competition and decrease
         output.’” Id. (quoting Ohio v. Am. Express Co. (“Amex”),
         138 S. Ct. 2274, 2283 (2018)). When a per se prohibition
         applies, we deem a restraint unlawful without any “elaborate
         study of the industry” in which it occurs. Id. (quoting
         Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006)). Most


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           This concerted/independent distinction is somewhat imprecise because
         Section 2 also encompasses certain concerted action—i.e., “conspiring
         with any other person or persons” to monopolize a market. See
         Dreamstime.com, LLC v. Google LLC, 54 F.4th 1130, 1137 (9th Cir.
         2022) (“Section 2 of the Sherman Act prohibits concerted and
         independent action that ‘monopolize[s] or attempt[s] to monopolize.’”).
         However, because the distinction is a useful shorthand that is accurate in
         the mine-run of cases and used throughout the Supreme Court’s and our
         court’s decisions, we adopt it here as well.
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         restraints, however, are subject to the Rule of Reason: a
         multi-step, burden-shifting framework that “requires courts
         to conduct a fact-specific assessment” to determine a
         restraint’s “actual effect” on competition. Amex, 138 S. Ct.
         at 2284 (quoting Copperweld, 467 U.S. at 768).
             The Rule of Reason applies “essentially the same”
         regardless of “whether the alleged antitrust violation
         involves concerted anticompetitive conduct under § 1 or
         independent anticompetitive conduct under § 2.” FTC v.
         Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020); see also
         Flaa, 55 F.4th at 685 (“Because the legal tests for sections 1
         and 2 of the Sherman Act similar, we can ‘review claims
         under each section simultaneously.’” (quoting Qualcomm,
         969 F.3d at 991)).
             In most, though not all, Rule of Reason cases, a
         “threshold step” is defining the relevant market in which the
         alleged restraint occurs. Qualcomm, 969 F.3d at 992; see
         also Amex, 138 S. Ct. at 2285 (“[C]ourts usually cannot
         properly apply the rule of reason without an accurate
         definition of the relevant market.”). 6 Because Epic asserts

         6
           Despite dicta in Qualcomm suggesting the contrary, we have never held
         that a precise market definition is an absolute requirement “in any
         antitrust case.” Qualcomm, 969 F.3d at 992. We apply per se rules (e.g.,
         the prohibition against price-fixing) without inquiring into market
         power. See, e.g., Dagher, 547 U.S. at 5 (per se rules require “no
         elaborate study of the industry”). Moreover, as the Supreme Court noted
         in Amex, it has previously applied the Rule of Reason—in its so-called
         “quick look” cases—without first defining the exact contours of the
         relevant market. 138 S. Ct. at 2285 n.7 (citing FTC v. Ind. Fed’n of
         Dentists, 476 U.S. 447 (1986), and Catalano, Inc. v. Target Sales, Inc.,
         446 U.S. 643 (1980)); see also 1 Julian Von Kalinowski, Peter Sullivan
         & Maureen, Antitrust Laws and Trade Regulation § 12.01[3] (2022)
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         Rule of Reason claims and presented both direct and indirect
         evidence of Apple’s market power, we begin our analysis
         with market definition.
             The relevant market for antitrust purposes is “the area of
         effective competition”—i.e., “the arena within which
         significant substitution in consumption or production
         occurs.” Amex, 138 S. Ct. at 2285 (quoting Phillip E. Areeda
         & Herbert Hovenkamp, Fundamentals of Antitrust Law §
         5.02 (4th ed. 2017)); see also Image Tech. Servs., Inc. v.
         Eastman Kodak Co., 125 F.3d 1195, 1202 (9th Cir. 1997)
         (“The relevant market is the field in which meaningful
         competition is said to exist.”). A relevant market contains
         both a geographic component and a product or service
         component. Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120
         (9th Cir. 2018).
             A market comprises “any grouping of sales whose
         sellers, if unified by a monopolist or a hypothetical cartel”
         could profitably raise prices above a competitive level.
         Rebel Oil Co., Inc. v. Atl. Richfield Co., 51 F.3d 1421, 1434
         (9th Cir. 1995). If the “sales of other producers [could]
         substantially constrain the price-increasing ability of the
         monopolist or hypothetical cartel, these other producers
         must be included in the market.” Id. To conduct this inquiry,
         courts must determine which products have a “‘reasonable
         interchangeability of use’ or sufficient ‘cross-elasticity of
         demand’” with each other. Hicks, 897 F.3d at 1120 (quoting
         Brown Shoe, 370 U.S. at 325); see also United States v. E. I.

         (“Usually, the ‘quick look’ does not require a detailed analysis of the
         relevant market and market power.”); Phillip E. Areeda & Herbert
         Hovenkamp, Antitrust Law ⁋ 1911a (4th ed. 2022) (“[D]ifferent
         applications of the rule of reason require different types and levels of
         inquiry.”).
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         du Pont de Nemours & Co., 351 U.S. 377, 400 (1956)
         (emphasizing “the responsiveness of the sales of one product
         to price changes of [another]”).
             Often, this inquiry involves empirical evidence in the
         form of a “SSNIP” analysis. That analysis echoes Rebel Oil
         and uses past consumer-demand data and/or consumer-
         survey responses to determine whether a hypothetical
         monopolist could profitably impose a Small, Significant,
         Non-transitory Increase in Price above a competitive level.
         As we have previously summarized this analysis:

                  [A]n economist proposes a narrow
                  geographic and product market definition
                  and then iteratively expands that
                  definition until a hypothetical monopolist
                  in the proposed market would be able to
                  profitably make a small but significant
                  non-transitory      increase    in   price
                  (“SSNIP”). At each step, if consumers
                  would respond to a SSNIP by making
                  purchases outside the proposed market
                  definition, thereby rendering the SSNIP
                  unprofitable, then the proposed market
                  definition is too narrow. At the next step,
                  the economist expands the proposed
                  geographic or product market definition to
                  include the substituted products or area.
                  This process is repeated until a SSNIP in
                  the proposed market is predicted to be
                  profitable for the hypothetical monopolist.

         Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th
         466, 482 n.1 (9th Cir. 2021). SSNIP analyses are relevant to
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         both Clayton Act merger challenges and Sherman Act
         restraint-of-trade or monopolization cases. See id. (Sherman
         Act section 2 monopolization claim); Saint Alphonsus Med.
         Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d
         775, 783 (9th Cir. 2015) (Clayton Act section 7 merger
         challenge). 7
             Courts also consider several “practical indicia” that the
         Supreme Court highlighted in Brown Shoe: “[1] industry or
         public recognition of the [market] as a separate economic
         entity, [2] the product’s peculiar characteristics and uses, [3]
         unique production facilities, [4] distinct customers, [5]
         distinct prices, [6] sensitivity to price changes, and [7]
         specialized vendors.” Brown Shoe, 370 U.S. at 325; Olin
         Corp. v. FTC, 986 F.2d 1295, 1299 (9th Cir. 1993) (invoking
         Brown Shoe indicia); see also Areeda & Hovenkamp,
         Antitrust Law, supra, ⁋ 533 (describing these indicia as
         having “evidentiary usefulness” in determining cross-
         elasticity of demand).
              B. Single-Brand Aftermarkets
            “[I]n some instances one brand of a product can
         constitute a separate market.” Eastman Kodak Co. v. Image
         Tech. Servs., Inc., 504 U.S. 451, 482 (1992); see also Newcal
         Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1048 (9th Cir.

         7
           Thus, to the extent the district court held that a SSNIP analysis applies
         only to merger challenges, it erred. However, because Sherman Act
         cases may involve markets in which a defendant has substantial market
         power or monopoly power (and has already exercised that power to
         charge a supracompetitive price), a SSNIP analysis in such cases “must
         not be used uncritically, and alternative indicia of market power should
         be explored.” Areeda & Hovenkamp, Antitrust Law, supra, ⁋ 539.
         Otherwise, a court may risk a false negative: over-defining a market and
         finding no market power where, in fact, it does exist.
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         2008) (“[T]he law permits an antitrust claimant to restrict the
         relevant market to a single brand of the product at issue[.]”).
         More specifically, the relevant market for antitrust purposes
         can be an aftermarket—where demand for a good is entirely
         dependent on the prior purchase of a durable good in a
         foremarket.
             In Kodak, the Supreme Court considered the question of
         whether a lack of market power in the foremarket
         (photocopier machines, generally) categorically precludes a
         finding of market power in the aftermarket (replacement
         parts for and servicing of Kodak-brand photocopiers), which
         Kodak had allegedly achieved by contractually limiting
         customers to Kodak-provided parts and services. 504 U.S.
         at 455, 466. The Supreme Court rejected Kodak’s invitation
         to impose an across-the-board rule because it was not
         convinced that the rule—which “rest[ed] on a factual
         assumption about the cross-elasticity of demand” in
         aftermarkets—would always hold true. Id. at 470. The
         Supreme Court thus folded aftermarkets into the framework
         for assessing markets generally, evaluating cross-elasticity
         of demand to determine whether a hypothetical monopolist
         could profitably charge a supracompetitive price. See id. at
         469 (“The extent to which one market prevents exploitation
         of another market depends on the extent to which consumers
         will change their consumption of one product to a price
         change in another, i.e., the ‘cross-elasticity of demand.’”
         (quoting Du Pont, 351 U.S. at 400)).
             Explaining its skepticism of the factual assumption
         underlying Kodak’s proposed categorical rule, the Court
         reasoned that “significant” (1) information costs and (2)
         switching costs “could create a less responsive connection
         between aftermarket prices and [foremarket] sales,”
         particularly where the percentage of “sophisticated
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         purchasers” able to accurately life-cycle price is low. Id. at
         473, 475; see also id. 477 n.24 (a “crucial” element is that
         the aftermarket restrictions were not “generally known” by
         foremarket consumers). That is, these conditions might
         “lock-in” unknowing customers such that competition in the
         foremarket cannot “discipline [competition in] the
         aftermarkets,” meaning a hypothetical monopolist could
         price its aftermarket products at a supracompetitive level
         without a substantial number of customers substituting to
         other products. Id. at 486; see also Von Kalinowski et al.,
         supra, § 24.02[5] (Kodak single-brand aftermarket requires
         “high switching costs,” “high information costs,” and
         “substantial” ability to “exploit ‘ignorant’ consumers”).
         Whether a plaintiff has proven such a lock-in must be
         resolved “on a case-by-case basis, focusing on the ‘particular
         facts disclosed by the record.’” Kodak, 504 U.S. at 467
         (quoting Maple Flooring Mfrs. Ass’n v. United States, 268
         U.S. 563, 579 (1925)).
             In Newcal, we considered how to square Kodak with our
         prior holding in Forsyth that contractual obligations are
         generally “not a cognizable source of market power.”
         Newcal, 513 F.3d at 1047 (citing Forsyth v. Humana, Inc.,
         114 F.3d 1467 (9th Cir. 2017)). We reasoned that the
         “critical distinction” between Kodak, on the one hand, and
         Forsyth, on the other, is that “the Kodak customers did not
         knowingly enter a contract that gave Kodak the exclusive
         right to prove parts and services for the life of the
         equipment.” Id. at 1048. Put otherwise, the “simple
         purchase of a Kodak-brand equipment” was not
         “functionally equivalent to the signing of a contractual
         agreement” limiting aftermarket choices. Id.; see also id. at
         1049 (“[T]he law permits an inquiry into whether a
         consumer’s selection of a particular brand in the competitive
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         market is the functional equivalent of a contractual
         commitment, giving that brand an agreed-upon right to
         monopolize its consumers in an aftermarket.”). Kodak thus
         differed markedly from Forsyth, which involved medical-
         insurance policyholders who entered into insurance
         contracts with Humana knowing that certain hospitals would
         carry higher deductibles and co-payments than others. See
         id. at 1048–49.
             Our knowledge-based distinction in Newcal flowed
         directly from the Supreme Court’s emphasis in Kodak on a
         defendant’s ability to use not “generally known” aftermarket
         restrictions to exploit unsophisticated consumers. Kodak,
         504 U.S. at 477 n.24. And, as in Kodak, we made sure to
         emphasize that the aftermarkets inquiry does not end as soon
         as a plaintiff checks the Kodak-based boxes related to
         consumer knowledge, information costs, and switching
         costs. “Even when a submarket is an Eastman Kodak
         market, though, it must bear the ‘practical indicia’ of an
         independent economic entity in order to qualify as a
         cognizable submarket under Brown Shoe.” Newcal, 513
         F.3d at 1051.
             In sum, to establish a single-brand aftermarket, a plaintiff
         must show: (1) the challenged aftermarket restrictions are
         “not generally known” when consumers make their
         foremarket purchase; (2) “significant” information costs
         prevent accurate life-cycle pricing; (3) “significant”
         monetary or non-monetary switching costs exist; and (4)
         general market-definition principles regarding cross-
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         elasticity of demand do not undermine the proposed single-
         brand market. 8
              C. Standard of Review
             “We review relevant market definitions as fact findings
         reversible only if the evidence compels a conclusion
         contrary to the [factfinder’s] verdict.” Optronic, 20 F.4th at
         482; see also Saint Alphonsus, 778 F.3d at 784 (finding “no
         clear error” in the district court’s market definition). Where
         a plaintiff asserts a Kodak-style single-brand aftermarket, it
         bears the burden of “rebut[ting] the economic presumption
         that . . . consumers make a knowing choice to restrict their
         aftermarket options when they decide in the initial
         (competitive) market to enter a[] . . . contract.” Newcal, 513
         F.3d at 1050.
              D. Epic’s Legal Challenges
              With these principles in mind, we now turn to Epic’s
         arguments that the district court committed legal error when
         it (1) held a market can never be defined around a product
         that the defendant does not license or sell, (2) required lack
         of consumer awareness to establish a Kodak-style market,
         (3) purportedly required a change in policy to establish a
         Kodak-style market, and (4) required Epic to establish the
         “magnitude” of switching costs. We agree with Epic on its
         first argument and, to the extent the district court did impose

         8
           Epic and the district court interpret Newcal to impose a different four-
         part test. In doing so, they mistakenly rely on a portion of Newcal where
         we determined that the specific complaint before us plausibly alleged
         lack of consumer awareness such that it fell on the Kodak side of the
         Kodak/Forsyth divide. See Newcal, 513 F.3d at 1049 (“In determining
         whether this case is more like . . . Forsyth or more like Eastman Kodak,
         there are four relevant aspects of the complaint.”).
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         a change-in-policy requirement, Epic’s third argument. But
         we reject Epic’s second and fourth arguments as squarely
         foreclosed by Kodak and Newcal. 9
                  1. Unlicensed or Unsold Product Markets
             First, the district court erred by imposing a categorical
         rule that an antitrust market can never relate to a product that
         is not licensed or sold—here smartphone operating systems.
         To begin, this categorical rule flouts the Supreme Court’s
         instruction that courts should conduct market-definition
         inquiries based not on “formalistic distinctions” but on
         “actual market realities.” Amex, 138 S. Ct. at 2285 (quoting
         Kodak, 504 U.S. at 466–67).
             Moreover, the district court’s rule is difficult to square
         with decisions defining a product market to include
         vertically integrated firms that self-provision the relevant
         product but make no outside sales. For example, the D.C.
         Circuit in Microsoft noted that “Apple had a not insignificant
         share of worldwide sales of operating systems,” even though
         Apple did not sell or license macOS but instead only
         included it in its own Mac computers. United States v.

         9
           We also reject Apple’s suggestion that Epic’s antitrust claims should
         have automatically failed as soon as the district court adopted a market
         of mobile-game transactions, instead of Epic’s proposed aftermarkets.
         None of the authorities Apple cites comes anywhere close to supporting
         its radical argument that, where parties offer dueling market definitions,
         the case immediately ends if the district court finds the record supports
         the defendant’s proposed market (or a third in-between market, as was
         the case here) rather than the plaintiff’s market. Instead, our precedent
         squarely forecloses such an argument. See Rebel Oil, 51 F.3d at 1421
         (rejecting the plaintiff’s proposed market but stating that such a rejection
         was “not fatal” to its claim, and remanding to determine whether the
         defendant possessed market power in the defendant-proposed market
         that the court adopted).
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         Microsoft Corp., 253 F.3d 34, 73 (D.C. Cir. 2001). While
         the Microsoft court ultimately excluded macOS from its
         market, it did so on fact-bound substitutability grounds, not
         the categorical grounds that the district court used here. Id.
         at 52.
             Finally, the district court’s rule overlooks that there may
         be markets where companies offer a product to one side of
         the market for free but profit in other ways, such as by
         collecting consumer data or generating ad revenue. See, e.g.,
         FTC v. Facebook, Inc., 581 F. Supp. 3d 34, 44–45, 55
         (D.D.C. 2022) (finding FTC plausibly alleged a market of
         personal social networks even though “all [are] provided free
         of charge” to users). It puts form over substance to say that
         such products cannot form a market because they are not
         directly licensed or sold.
                  2. Lack of Consumer Knowledge
             Second, the district court did not err when it required
         Epic to produce evidence regarding a lack of consumer
         knowledge of Apple’s app-distribution and IAP restrictions.
         Such a requirement comes directly from Kodak and Newcal.
         The former stated that it is “crucial” that aftermarket
         restrictions are not “generally known.” Kodak, 504 U.S. at
         477 n.24. The latter placed the burden on a plaintiff to “rebut
         the economic presumption that . . . consumers make a
         knowing choice to restrict their aftermarket options” when
         they make a foremarket purchase. Newcal, 513 F.3d at
         1050. 10

         10
           As Epic correctly notes in its opening brief, Kodak does not impose a
         requirement that a plaintiff show “complete ignorance” of a defendant’s
         aftermarket restrictions; it need only show that the restrictions are not
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                 3. Change in Policy
             Third, Epic argues that the district court erred by holding
         that a plaintiff can establish a Kodak-style aftermarket only
         if it shows that the defendant adopted its aftermarket
         restrictions after some portion of consumers purchased their
         foremarket durable goods. Had the district court actually
         imposed such an absolute change-in-policy requirement, it
         would have erred. As explained above, Kodak and Newcal
         require a showing of a lack of consumer awareness regarding
         aftermarket restrictions. Newcal, 513 F.3d at 1050. A
         change in policy is of course one way of doing so; a
         consumer cannot knowingly agree to a restriction that did
         not exist at the time of the foremarket transaction. But it is
         not the exclusive means of doing so. Indeed, Kodak itself
         contemplated that some sophisticated, high-volume
         consumers would be able to accurately life-cycle price goods
         in the foremarket. Kodak, 504 U.S. at 476. Such life-cycle
         pricing would be impossible if those consumers were
         unaware that they would be restricted to certain vendors in
         the aftermarket.
             But contrary to Epic’s assertion, we do not read the
         district court’s order as running counter to these principles.
         The district court explained that “other circuits have aligned
         with the contours of Newcal . . . regarding knowledge and/or
         post-purchase policy changes” and that the “breadth of
         antitrust law” requires that a restriction “must not have been
         sufficiently disclosed to consumers.” It then quoted the
         operative language from Newcal that focuses on lack of


         “generally known.” Kodak, 504 U.S. at 477 n.24. We need not decide
         what amounts to “general[]” unawareness because Epic presented no
         evidence of consumer unawareness. See infra section I.E.
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         knowledge, not the necessity of a policy change. Finally, it
         examined the record to find neither a change in policy nor
         proof that iOS device purchasers are unaware of the
         distribution and IAP restrictions. See infra section I.E. The
         district court appropriately treated a change in policy as one,
         but not the exclusive, way of establishing Kodak and
         Newcal’s general-lack-of-knowledge requirement.
                 4. Significant Switching Costs
             Fourth, the district court did not err when it required Epic
         to produce evidence about the magnitude of switching costs.
         Kodak explicitly requires that switching costs—whether
         monetary or non-monetary—be “significant.” Kodak, 504
         U.S at 473. This showing need not be extensive; among
         other things, a plaintiff can point to the “heavy initial outlay”
         of the foremarket good and brand-specific purchases. Id. at
         477. By requiring such a showing, the district court was
         simply fulfilling its Kodak obligation of ensuring that
         switching costs are “significant.” 11
              E. Epic’s Clear-Error Challenge
              We now turn to the main thrust of Epic’s market-
         definition argument: that it is entitled, as a factual matter, to
         a finding in favor of its proposed aftermarkets. Though Epic
         attempts to avoid the clear-error label, its argument requires
         it to carry the heavy of burden on appeal of showing that the
         district court clearly erred in finding that (1) Epic failed to
         show a lack of general consumer awareness regarding
         Apple’s restrictions on iOS distribution and payment
         processing, (2) Epic failed to show significant switching

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           As explained in the following section, we express no view on whether
         the district court erred when applying this significance requirement to
         Epic’s proffered evidence regarding switching costs.
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         costs, and (3) the empirical evidence in the record and the
         Brown Shoe practical indicia support a market of mobile-
         game transactions, not Epic’s iOS-specific aftermarkets. 12
             Beginning with the first prong, Epic had the burden of
         showing a lack of consumer awareness—whether through a
         change in policy or otherwise. Epic identified a purported
         change in policy, contrasting the App Store’s now-immense
         profitability with a pre-launch statement from Steve Jobs
         that Apple did not “intend to make money off the App
         Store[’s]” 30% commission. The district court reasonably
         found this statement to simply reflect Jobs’s “initial
         expectation” about the App Store’s performance, not an
         announcement of Apple policy. Especially in light of the
         district court’s finding that Apple has “maintained the same
         general rules” for distribution and payment processing since
         the App Store’s early days, it did not clearly err in
         concluding that Epic failed to prove a lack of consumer
         awareness through a change of policy.
             Nor did the district court clearly err in finding that Epic
         otherwise failed to establish a lack of awareness. Indeed, the
         district court squarely found: “[T]here is no evidence in the
         record demonstrating that consumers are unaware that the
         App Store is the sole means of digital distribution on the iOS
         platform” (emphasis added). And on appeal, Epic fails to
         cite any evidence that would undermine the district court’s
         characterization of the record.
            Because of this failure of proof on the first prong of
         Epic’s Kodak/Newcal showing, we need not reach—and do

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           The district court did not rule against Epic on the remaining prong of
         the Kodak/Newcal test: the presence of significant information costs that
         make accurate life-cycle pricing difficult.
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         not express any view regarding—the other factual grounds
         on which the district court rejected Epic’s single-brand
         markets: (1) that Epic did not show significant switching
         costs, and (2) that empirical evidence and the Brown Shoe
         factors rebut Epic’s proposed aftermarkets.
              Moreover,      the    district  court’s    finding    on
         Kodak/Newcal’s         consumer-unawareness       requirement
         renders harmless its rejection of Epic’s proposed
         aftermarkets on the legally erroneous basis that Apple does
         not license or sell iOS as a standalone product. See supra
         section I.D.1. To establish its single-brand aftermarkets,
         Epic bore the burden of “rebut[ting] the economic
         presumption that . . . consumers make a knowing choice to
         restrict their aftermarket options when they decide in the
         initial (competitive) market to enter a[] . . . contract.”
         Newcal, 513 F.3d at 1050. Yet the district court found that
         there was “no evidence in the record” that could support such
         a showing. As a result, Epic cannot establish its proposed
         aftermarkets on the record before our court—even after the
         district court’s erroneous reasoning is corrected.
             In his partial dissent, our colleague, Judge Thomas,
         disagrees with our conclusion that the error discussed in
         section I.D.1 is harmless. First, Judge Thomas contends that
         we lack any “direct authority for [this] proposition.” While
         we do not have a Kodak-specific case to cite, treating an
         error as harmless in light of an independent and sufficient
         alternative finding is standard fare in appellate courts. See,
         e.g., United States v. Wright, 46 F.4th 938, 944 (9th Cir.
         2022) (“[The district court’s . . . error was harmless in light
         of its alternative holding . . . .” (capitalization
         standardized)); Tommasetti v. Astrue, 533 F.3d 1035, 1042
         (9th Cir. 2008) (“Although the ALJ’s step four
         determination constitutes error, it is harmless error in light
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         of the ALJ’s alternative finding at step five.”); United States
         v. Koenig, 912 F.2d 1190, 1190 (9th Cir. 1990) (“We agree
         [with the appellant’s assertion of error], but conclude that the
         district court made alternative rulings that render any
         error harmless.”). Second, and relatedly, Judge Thomas
         argues that our harmless-error conclusion runs counter to
         precedent instructing that, outside of certain exceptions,
         “courts usually cannot apply the rule of reason without an
         accurate definition of the relevant market.” Amex, 138 S. Ct.
         at 2285. But that argument misconstrues the effect of the
         district court’s finding on the consumer-unawareness prong.
         If, as Judge Thomas requests, we were to just correct the
         district court’s erroneous reasoning and then remand, the
         district court’s market definition on remand would be
         foreordained. Given the total lack of evidence on consumer-
         unawareness, Epic cannot establish its proposed
         aftermarkets. So, contrary to the partial dissent’s assertion,
         we do not proceed to apply the Sherman Act’s liability
         standards without first defining a relevant market. Epic’s
         proposed aftermarkets fail, and Apple did not cross-appeal
         the district court’s rejection of its proposed market. The
         district court’s middle-ground market of mobile-games
         transaction thus stands on appeal, and it is that market in
         which we assess whether Apple’s conduct is unlawful
         pursuant to the Sherman Act.
         II.    Sherman Act Section 1: Unreasonable Restraint
             With the relevant market for Epic’s antitrust claims
         established (mobile-game transactions), we turn to the
         district court’s rejection of Epic’s Sherman Act Section 1
         restraint-of-trade claim. Section 1 prohibits “[e]very
         contract, combination . . . , or conspiracy, in restraint of
         trade.” 15 U.S.C. § 1. Courts have long read Section 1 to
         “outlaw only unreasonable restraints.” Amex, 138 S. Ct. at
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         2283 (quoting State Oil v. Khan, 522 U.S. 3, 10 (1997)).
         Thus, a Section 1 inquiry has both a threshold component
         (whether there is a contract, combination, or conspiracy) and
         a merits component (whether it is unreasonable).
         Qualcomm, 969 F.3d at 988–89. While a restraint can be
         unreasonable per se or pursuant to the Rule of Reason, the
         parties agree that the latter standard applies here.
              Epic contends that the district court (1) incorrectly found
         that the DPLA was not a “contract[]” within the scope of
         Section 1, (2) misapplied steps two and three of the Rule of
         Reason, and (3) omitted a fourth balancing step after it found
         that Epic failed to satisfy its step-three burden. Apple
         asserts—as an alternative basis for affirming the district
         court’s denial of Sherman Act liability—that the court erred
         at step one of the Rule of Reason. We agree with Epic on its
         first and third arguments but find the errors to be harmless;
         we reject Epic’s and Apple’s remaining arguments.
              A. Existence of a Contract
             The district court erred when it held that a non-
         negotiated contract of adhesion like the DPLA falls outside
         of the scope of Section 1. That holding plainly contradicts
         Section 1’s text, which reaches “[e]very contract,
         combination . . . , or conspiracy” that unreasonably restrains
         trade. 15 U.S.C. § 1 (emphasis added). To hold that a
         contract is exempt from antitrust scrutiny simply because
         one party “reluctant[ly]” accepted its terms “would be to
         read the word[] ‘contract’” out of the statute. Systemcare,
         Inc. v. Wang Lab’ys Corp., 117 F.3d 1137, 1143 (10th Cir.
         1997).
             Moreover, the district court’s contract-of-adhesion
         exemption is difficult to square with numerous antitrust
         cases involving agreements in which one party set terms and
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         the other party reluctantly acquiesced. See, e.g., Amex, 138
         S. ct. at 2282 (“Amex’s business model sometimes causes
         friction with merchants”); Perma Life Mufflers, Inc. v. Int’l
         Parts Corp., 392 U.S. 134, 142 (1968) (the plaintiff
         “unwillingly complied with the restrictive . . . agreements”),
         overruled on other grounds by Copperweld, 467 U.S. 752;
         Barry v. Blue Cross of Cal., 805 F.2d 866, 869 (9th Cir.
         1986) (contract “terms and structure were made by” the
         defendant). Given the number of cases in which the district
         court’s exemption would have been decisive, it is telling that
         the dog never barked.
             Additionally, as the district court itself recognized, its
         holding is “not particularly consistent” with ties being
         cognizable pursuant to Section 1. In a classic tie, the
         defendant “exploit[s] . . . its control over the tying product
         to force the buyer into the purchase of a tied product that the
         buyer either did not want at all, or might have preferred to
         purchase elsewhere on different terms.” Jefferson Par.
         Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 12 (1984), overruled
         on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc.,
         547 U.S. 28 (2006). “If such conduct were to be labelled
         ‘independent,’ virtually all tying arrangements would be
         beyond the reach of Section 1.” Image Tech. Serv., Inc. v.
         Eastman Kodak Co., 903 F.2d 612, 619 (9th Cir. 1990).
             Moreover, Section 1 is primarily concerned with firms
         that exercise market power—i.e., the “special ability . . . to
         force a [a contracting partner] to do something that he would
         not do in a competitive market.” Jefferson Parish, 466 U.S.
         at 13–14. The district court’s rule would preclude Section 1
         suits and illegality defenses to breach of contract claims
         where they are most needed: when dealing with restraints
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         imposed by firms that have market power but lack the
         monopoly power that triggers Section 2 scrutiny. 13
            Thus, the district court erred on this threshold issue. But
         because the court, in the alternative, properly applied the
         Rule of Reason, its error was harmless.
              B. Rule of Reason Step One: Anticompetitive Effects
             The district court did not err when it found that Epic
         made the Rule of Reason’s required step-one showing. At
         step one, “the plaintiff has the initial burden to prove that the
         challenged restraint has a substantial anticompetitive effect
         that harms consumers in the relevant market.” Amex, 138 S.
         Ct. at 2284. Antitrust plaintiffs can make their step-one
         showing either “directly or indirectly.”            Id.; accord
         PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824, 834
         (9th Cir. 2022); Aya Healthcare Servs., Inc. v. AMN
         Healthcare, Inc., 9 F.4th 1102, 1112 (9th Cir. 2021); Rebel
         Oil., 51 F.3d at 1434.



         13
             The decisions that the district court relied on are readily
         distinguishable. An express agreement is “direct evidence of ‘concerted
         activity.’” Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145,
         1153 (9th Cir. 2003). But the district court relied exclusively on cases
         in which there was no direct evidence of concerted activity and a plaintiff
         instead produced circumstantial evidence to show that the defendants
         were acting in concert. See, e.g., Monsanto Co. v. Spray-Rite Serv.
         Corp., 465 U.S. 752 (1984). Where a plaintiff puts forward only
         circumstantial evidence, courts must conduct a searching inquiry, lest
         they mistake parallel conduct (which is legal) for concerted activity
         (which is subject to Section 1 scrutiny). Id. at 768; see In re Musical
         Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1193–94 (9th Cir.
         2015). Where there is an express contract, that concern is simply not
         present.
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             “To prove a substantial anticompetitive effect directly,
         the plaintiff must provide ‘proof of actual detrimental effects
         [on competition],’ such as reduced output, increased prices,
         or decreased quality in the relevant market.” PLS.Com, 32
         F.4th at 834 (emphasis added) (quoting Amex, 138 S. Ct. at
         2284). Importantly, showing a reduction in output is one
         form of direct evidence, but it “is not the only measure.”
         O’Bannon v. NCAA, 802 F.3d 1049, 1070 (2015) (emphasis
         removed) (quoting Areeda & Hovenkamp, Antitrust Law,
         supra, ⁋ 1503b(1)).
             To prove substantial anticompetitive effects indirectly,
         the plaintiff must prove that the defendant has market power
         and present “some evidence that the challenged restraint
         harms competition.” Amex, 138 S. Ct. at 2284. Market
         power is the ability for a defendant to profitably raise prices
         by restricting output. Id. at 2288; see also Jefferson Parish,
         466 U.S. at 13–14 (market power is the ability “to force a
         purchaser to do something that he would not do in a
         competitive market”). In other words, a firm with market
         power is a price-maker, not the price-takers that economic
         theory expects in a competitive market. Pursuant to this
         indirect-evidence route, “[t]he existence of market power is
         a significant finding that casts an anticompetitive shadow
         over a party’s practices in a rule-of-reason case.” Hahn v.
         Or. Physicians’ Serv., 868 F.2d 1022, 1026 (9th Cir. 1988).
             Market power is generally inferred from the defendant’s
         possession of a high market share and the existence of
         “significant barriers to entry.” Rebel Oil, 51 F.3d at 1434.
         Whether a defendant possesses market power is a factual
         question that we review for clear error. Cf. L.A. Land Co. v.
         Brunswick Corp., 6 F.3d 1422, 1425 (9th Cir. 1993)
         (possession of monopoly power is a fact question).
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             A plaintiff must also present “some evidence” that the
         defendant uses that market power to harm competition.
         Amex, 138 S. Ct. at 2284; see also Aya Healthcare, 9 F.4th
         at 1113 (citing Tops Mkts., Inc. v. Quality Mkts., Inc., 142
         F.3d 90, 97 (2d Cir. 1998), for the proposition that “market
         power alone does not suffice as indirect evidence for a rule-
         of-reason analysis”). This inquiry need not always be
         extensive or highly technical. It is sufficient that the plaintiff
         prove the defendant’s conduct, as matter of economic theory,
         harms competition—for example that it increases barriers to
         entry or reduces consumer choice by excluding would-be
         competitors that would offer differentiated products. See N.
         Am. Soccer League, LLC v. U.S. Soccer Fed’n Inc., 883 F.3d
         32, 42 (2d Cir. 2018).
             Here, the district concluded that Epic produced both
         sufficient direct and indirect evidence to show that Apple’s
         distribution and IAP restrictions impose substantial
         anticompetitive effects. In terms of direct evidence, the
         court found that Apple has for years extracted a
         supracompetitive commission that was set “almost by
         accident” and “without regard” to its own costs and has
         produced “extraordinarily high” operating margins that
         “have exceeded 75% for years.” The court found that “the
         economic factors driving” other platforms’ rates “do not
         apply equally to Apple,” with “nothing other than legal
         action seem[ing] to motivate Apple to reconsider pricing and
         reduce rates.” With respect to indirect evidence, the district
         court found that Apple has market power: Apple had a
         mobile-games market share of 52 to 57% for the three years
         in evidence, and network effects and information restrictions
         create barriers to entry. The court found that Apple wielded
         that market power to foreclose would-be competitors like
         Epic from offering app-distribution and payment-processing
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         alternatives—reducing innovation and Apple’s                         own
         investment in the App Store in the process.
                  1. Direct Evidence
             Apple challenges both the district court’s direct- and
         indirect-evidence conclusions on several grounds—some
         legal, some factual. We are not persuaded that the district
         court erred at step one of the Rule of Reason. 14
             First, Apple argues that the district court’s direct-
         evidence conclusion cannot stand because Epic did not show
         that Apple’s restrictions reduced output. We squarely
         rejected this argument in O’Bannon. There, the NCAA
         similarly argued that liability was foreclosed because output
         in the relevant market “increased steadily over time.” 802
         F.3d at 1070. “Although output reductions are one common
         kind of anticompetitive effect in antitrust cases, a ‘reduction
         in output is not the only measure of anticompetitive effect.’”
         Id. (citation omitted). Nor does Amex displace our holding
         in O’Bannon. A showing of decreased output was essential
         in that case because the plaintiff “failed to offer any reliable
         measure of Amex’s transaction price or profit margins” and
         “the evidence about whether Amex charges more than its
         competitors was ultimately inconclusive.” Amex, 138 S. Ct.
         at 2288.



         14
           We also reject Apple’s threshold argument that the district court erred
         by not isolating the effects of Apple’s unilateral product-design decisions
         from the effects of the contractual restrictions that are properly within
         the scope of Section 1. This argument runs counter to the record. When
         conducting its Rule of Reason analysis, the district court noted that Epic
         “appear[ed] to disclaim any challenge to Apple’s code signing
         restrictions,” so the court “consider[ed] only the DPLA restrictions.”
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             Second, Apple argues that Epic’s evidence of
         supracompetitive pricing fails as a matter of law because
         Apple never raised its commission. A supracompetitive
         price is simply a “price[] above competitive levels.” Rebel
         Oil, 51 F.3d at 1434. Apple cites no binding precedent in
         support of its proposition that the charging of a
         supracompetitive price must always entail a price increase,
         though we recognize that it ordinarily does.
             Third, Apple attacks the supracompetitive-pricing
         finding on factual grounds by asserting that Apple charges a
         substantially similar commission as its competitors. That
         assertion is true as far as headline rates go, but the district
         court reasonably based its supracompetitive-price finding on
         effective commission rates instead of headline rates. The
         district court found Apple’s reliance on headline rates to be
         “suspect” because, unlike the App Store, other platforms
         “frequently negotiate[] down” the rates they charge
         developers. The court noted that Amazon has a headline rate
         of 30% but an effective commission rate of 18%. And it
         credited testimony that game-console transaction platforms
         often “negotiate special deals for large developers.” While
         the district court’s finding that the Google Play Store (the
         App Store’s “main competitor”) charges a 30% rate
         seemingly undermines the characterization of Apple’s
         commission as supracompetitive, we cannot say that the
         district court clearly erred absent evidence about the Google
         Play Store’s effective commission—the metric that the
         district court at trial found to be the key to determining the
         competitiveness of a price in this market.
             Fourth, Apple argues that the district court’s direct-
         evidence finding fails as a matter of law because Amex
         requires Epic to establish anticompetitive effects on both
         sides of the two-sided market for mobile-game transactions
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         (developers and users). Apple’s argument falls short both
         legally and factually. We have previously held: “Amex does
         not require a plaintiff to [show] harm to participants on both
         sides of the market. All Amex held is that to establish that a
         practice is anticompetitive in certain two-sided markets, the
         plaintiff must establish an anticompetitive impact on the
         ‘market as a whole.’” PLS.com, 32 F.4th at 839 (quoting
         Amex, 138 S. Ct. at 2287). In any event, the district court
         found that, while Apple’s restrictions “certainly impact
         developers,” there was “some evidence” that the restrictions
         also “impact[] consumers when those costs are passed on.”
                2. Indirect Evidence
               We are not persuaded by Apple’s argument that the
         district court erred in concluding that Epic established
         indirect evidence of anticompetitive effects. Apple does not
         take issue with the district court’s finding of a 52 to 55%
         market share (other than noting it was the court’s “own
         . . . calculation”); nor does Apple challenge the court’s
         barriers-to-entry finding. It instead argues that the finding
         that Apple wields its market power in an anticompetitive
         manner is speculative. But, supported by basic economic
         presumptions, the district court reasonably found that,
         without Apple’s restrictions, would-be competitors could
         offer iOS users alternatives that would differentiate
         themselves from the App Store on price as well as consumer-
         appeal features like searchability, security, privacy, and
         payment processing. Indeed, it found competition in the PC-
         gaming market to be a “vivid illustration”: Steam had long
         charged a 30% commission, but upon Epic’s entry into the
         market, it lowered its commission to 20%. Epic’s indirect-
         evidence showing was sufficient. See N. Am. Soccer
         League, 883 F.3d at 42 (market power combined with a
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         restriction that “reduce[s] consumer choice” satisfies step
         one).
              C. Step Two: Procompetitive Rationales
             The district court correctly held that Apple offered non-
         pretextual, legally cognizable procompetitive rationales for
         its app-distribution and IAP restrictions. If a plaintiff
         establishes at step one that the defendant’s restraints impose
         substantial anticompetitive effects, then the burden shifts
         back to the defendant to “show a procompetitive rationale
         for the restraint[s].” NCAA v. Alston, 141 S. Ct. 2141, 2160
         (2021) (quoting Amex, 138 S. C.t at 2284). A procompetitive
         rationale is “a [1] nonpretextual claim that [the defendant’s]
         conduct is [2] indeed a form of competition on the merits
         because it involves, for example, greater efficiency or
         enhanced consumer appeal.” Qualcomm, 969 F.3d at 991.
             Here, the district court accepted two sets of rationales as
         non-pretextual and legally cognizable. First, it found that
         Apple implemented the restrictions to improve device
         security and user privacy—thereby enhancing consumer
         appeal and differentiating iOS devices and the App Store
         from those products’ respective competitors. Second, the
         court partially accepted Apple’s argument that it
         implemented the restrictions to be compensated for its IP
         investment. While the court credited the IP-compensation
         rationale generally, it rejected the rationale “with respect to
         the 30% commission rate specifically.” On appeal, Epic
         raises three arguments challenging Apple’s rationales as
         legally non-cognizable.
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                 1. Partial Acceptance     of               Apple’s   IP-
                    Compensation Rationale
               Epic argues that the district court may not credit Apple’s
         IP-compensation rationale while finding that the rationale
         was pretextual “with respect to the 30% commission rate
         specifically” (emphasis added). We have held that IP-
         compensation is a cognizable procompetitive rationale,
         Kodak, 125 F.3d at 1219 (“desire to profit from
         . . . intellectual property” is presumptively procompetitive),
         and we find no error in the district court’s partial crediting
         of that rationale here.
             The district court’s acceptance of the rationale generally,
         while rejecting a specific application of it, resembles the
         district court’s analysis in the NCAA litigation that
         culminated in Alston, 141 S. Ct. 2141. There, the district
         court credited the NCAA’s amateurism-as-consumer-appeal
         rationale but found that the NCAA’s “rules and restrictions
         on [amateurism] ha[d] shifted markedly over time,” that the
         NCAA adopted some restrictions “without any reference to
         considerations of consumer demand,” and that some were
         “not necessary to consumer demand.” Id. at 2163. The court
         did not, as Epic requests here, resolve the case at step two
         and hold that the NCAA’s shaky proof meant it lacked any
         procompetitive rationale. Instead, the “deficiencies in the
         NCAA’s proof of procompetitive benefits at the second step
         influenced the analysis at the third [step].” Id. at 2162.
         Because the NCAA’s amateurism-as-consumer-appeal
         rationale was nebulously defined and weakly substantiated,
         the plaintiffs had more flexibility at step three to fashion less
         restrictive alternatives.
            The same is true here. Because the district court
         accepted only a general version of Apple’s IP-compensation
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         rationale (that Apple was entitled to “some compensation”),
         Epic at step three needed only to fashion a less-restrictive
         alternative calibrated to achieving that general goal, instead
         of one achieving the level of compensation that Apple
         currently achieves through its 30% commission. There is no
         legal requirement—as Epic suggests—that district courts
         make pretext findings on an all-or-nothing basis. When
         district courts at step two partially credit a rationale, step
         three will necessarily take that partial finding into account.
                2. Cognizability of Apple’s Privacy/Security
                   Rationales
             Epic and its amici next argue that Apple’s security and
         privacy rationales are social, not procompetitive, rationales
         and therefore fall outside the purview of antitrust law. We
         reject this argument.
             To begin, Epic waived this argument by failing to raise
         it below. See Friedman v. AARP, Inc., 855 F.3d 1047, 1057
         (9th Cir. 2017) (“Our general rule is that we do not consider
         an issue not passed upon below.”). In the parties’ pre-trial
         joint submission on elements and remedies, Epic agreed that
         “enhancing consumer appeal”—the goal of Apple’s security
         and privacy efforts—is a cognizable procompetitive
         justification. At trial, one of Epic’s experts conceded that
         “[p]rotecting iPhone users from security threats is a
         procompetitive benefit.” And Epic made no reference to
         cognizability in its proposed findings of fact and conclusions
         of law.
             Even setting aside Epic’s failure to raise this argument
         below, we are not persuaded by it. See Carrillo v. County of
         Los Angeles, 798 F.3d 1210, 1223 (9th Cir. 2015) (courts of
         appeal have discretion to address pure questions of law if
         doing so will not prejudice the opposing party). Epic’s
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         argument characterizes Apple as asserting security and
         privacy as independent justifications in and of themselves.
         But, throughout the record, Apple makes clear that by
         improving security and privacy features, it is tapping into
         consumer demand and differentiating its products from those
         of its competitors—goals that are plainly procompetitive
         rationales. See, e.g., Qualcomm, 969 F.3d at 991 (listing
         enhanced “consumer appeal” as a legitimate procompetitive
         rationale); O’Bannon, 802 F.3d at 1072–73 (considering the
         NCAA’s amateurism rationale that “plays a role in
         increasing consumer demand”). Consumer surveys in the
         record show that security and privacy is an important aspect
         of a device purchase for 50% to 62% of iPhone users and
         76% to 89% of iPad users worldwide. Even Epic’s CEO
         testified that he purchased an iPhone over an Android
         smartphone in part because it offers “better security and
         privacy.” And the district court found that, because Apple
         creates a “trusted app environment, users make greater use
         of their devices.”
             With Apple’s restrictions in place, users are free to
         decide which kind of app-transaction platform to use. Users
         who value security and privacy can select (by purchasing an
         iPhone) Apple’s closed platform and pay a marginally higher
         price for apps. Users who place a premium on low prices
         can (by purchasing an Android device) select one of the
         several open app-transaction platforms, which provide
         marginally less security and privacy. Apple’s restrictions
         create a heterogenous market for app-transaction platforms
         which, as a result, increases interbrand competition—the
         primary goal of antitrust law. See, e.g., Leegin Creative
         Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 895 (2007);
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         State Oil, 522 U.S. at 15. 15 Antitrust law assumes that
         competition best allocates resources by allowing firms to
         compete on “all elements of a bargain—quality, service,
         safety, and durability—and not just the immediate cost.”
         Nat’l Soc’y of Pro. Eng’rs v. United States, 435 U.S. 679,
         695 (1978). If we were to accept Epic and its amici’s
         argument, then no defendant could cite competing on non-
         price features as a procompetitive rationale.
             To avoid this conclusion, Epic and its amici rely on a line
         of cases stemming from National Society of Professional
         Engineers. But neither that case nor its progeny support
         their argument that improved quality is a social, rather than
         procompetitive, rationale.          Instead, the Professional
         Engineers line of cases holds that a defendant cannot
         severely limit interbrand competition on the theory that
         competition itself is ill-suited to a certain market or industry.
         See id. at 694–96. Epic’s selection of quotes from
         Professional Engineers and other cases—without
         acknowledging the distinct context in which they occurred—
         is unconvincing.
            In Professional Engineers, a professional association
         with about 12,000 engineers adopted a rule prohibiting its
         members from engaging in competitive bidding on

         15
            Epic argues that interbrand competition in the smartphone market is
         irrelevant because in the app-transactions market Epic is Apple’s would-
         be competitor—i.e., the DPLA prevents interbrand competition between
         the App Store and the Epic Games Store in the game-transactions
         market. But this was also true in Kodak: The independent service
         operators were would-be competitors of Kodak in the service market.
         Still, the Court entertained (while ultimately rejecting on factual
         grounds) Kodak’s procompetitive rationale that its service restrictions
         ensured high-quality products and thus promoted interbrand competition
         in the foremarket for photocopiers. Kodak, 504 U.S. at 482–84.
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         construction projects. Id. at 681. This “absolute ban” on
         competitive bidding imposed substantial anticompetitive
         effects, and the Society’s sole justification was that
         competition in the construction-engineering market would
         lead engineers to perform “inferior work with consequent
         risk to safety and health.” Id. at 692–94. In other words,
         competition in the construction engineering industry was not
         in the “public benefit.” Id. The Supreme Court rejected this
         request for a judge-made exemption from the Rule of
         Reason, which “does not support a defense based on the
         assumption that competition itself is unreasonable,” and
         stated that the Society’s argument should be “addressed to
         Congress.” Id. at 696.
             Indiana Federation of Dentists likewise involved a
         request for an exemption from the Rule of Reason. There,
         an association of dentists, which had a nearly 100% market
         share in one area and a nearly 70% market share in another,
         adopted a rule prohibiting its members from submitting x-
         rays to dental insurers. Ind. Fed. of Dentists, 476 U.S. at
         448–49. The rule made it prohibitively expensive for
         insurers to impose cost-containment measures and thus
         eliminated interbrand competition regarding cooperation
         with patients’ insurers. Id. at 449. The Federation argued
         that competition would undermine “quality of care”—that,
         without the rule, consumers would make “unwise and even
         dangerous choices” regarding dental procedures. Id. at 463.
         The Supreme Court rejected this argument—that
         competition was ill-suited for the dental industry—as
         squarely foreclosed by Professional Engineers. Id.
             Trial Lawyers Association followed a similar track, but
         with respect to a requested exemption from a per se rule. A
         professional association comprising about 90% of “regulars”
         appointed for indigent criminal defense in the Superior Court
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         of the District of Columbia entered into a group boycott
         against the District until it “substantially increase[d]” hourly
         rates. FTC v. Sup. Ct. Trial Lawyers’ Ass’n, 493 U.S. 411,
         416 (1990). The Association argued that its actions were not
         unlawful because the District had a “constitutional duty” to
         provide adequate representation to indigent defendants,
         which required it to provide meaningful compensation to
         their attorneys. Id. at 423. The Court refused to exempt the
         Association’s conduct from the normal application of
         antitrust’s per se prohibition on group boycotts, concluding
         that “[t]he social justifications proffered for respondents’
         restraint of trade . . . do not make it any less unlawful.” Id.
         at 424.
             The Supreme Court followed suit last term in Alston
         when it rejected the NCAA’s sweeping plea for leniency.
         The NCAA argued that something more deferential than the
         Rule of Reason should apply to its restrictions on student-
         athlete compensation because the NCAA’s amateurism
         restrictions advance the “societally important non-
         commercial objective of higher education.” Alston, 141 S.
         Ct. at 2158. The Supreme Court held that this argument—
         that the NCAA “should be exempt from the usual operation
         of the antitrust laws”—should be directed to Congress, not a
         court. Id. at 2160.
             Apple’s rationales categorically differ from those
         asserted in the above cases. Apple did not agree with other
         app-transaction platforms (e.g., the Google Play Store) to
         eliminate interbrand competition and then invoke security
         and privacy to avoid the “normal operation” of the Rule of
         Reason. Id. at 2147. Rather, Apple imposed intrabrand
         limitations (that iOS devices use Apple distribution and
         payment-processing channels) and contends that these
         restrictions tap into consumer demand for a private and
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         secure user experience and distinguish the App Store from
         its open-platform competitors.
                3. Cognizability of Cross-Market Rationales
             Epic finally argues that, even if Apple’s security and
         privacy restrictions are procompetitive, they increase
         competition in a different market than the district court
         defined and in which Epic showed step-one anticompetitive
         effects, and thus are not legally cognizable at step two. In
         Epic’s view, Apple’s rationales relate to the market for
         smartphone operating systems (or the market for
         smartphones), while the anticompetitive effects of Apple’s
         restrictions impact the market for mobile-game transactions.
              The Supreme Court’s precedent on this issue is not clear.
         While amici argued in Alston that cross-market justifications
         fail as a matter of law, the Supreme Court “express[ed] no
         view[]” on the argument. 141 S. Ct. at 2155. Dicta from one
         per se decision provides some support for Epic’s position.
         See United States v. Topco Assocs., Inc., 405 U.S. 596, 609–
         10 (1972) (courts are unable “to weigh, in any meaningful
         sense, destruction of competition in one sector of the
         economy against promotion of competition in another
         sector”). But the Supreme Court has considered cross-
         market rationales in Rule of Reason and monopolization
         cases. See Kodak, 504 U.S. at 482–84 (relevant market of
         Kodak-brand service and parts; procompetitive rationale in
         market for photocopiers); NCAA v. Bd. of Regents of Univ.
         of Okla., 468 U.S. 85, 104–08, 115–17 (1984) (relevant
         market of college football television; procompetitive
         rationale of protecting the market for college football
         tickets). Our court’s precedent is similar. While we have
         never expressly confronted this issue, we have previously
         considered cross-market rationales when applying the Rule
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         of Reason. See O’Bannon, 802 F.3d at 1069–73; In re NCAA
         Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239,
         1266–71 (9th Cir. 2020) (M. Smith, J., concurring).
             We decline to decide this issue here. Like Epic’s general
         cognizability argument, Epic did not raise this argument
         below. Nor did it raise this argument in its opening brief
         before our court, denying Apple an opportunity to respond.
         See Miller v. Fairchild Indus., Inc., 797 F.2d 727, 738 (9th
         Cir. 1986).
             More importantly, we need not decide this issue because
         Epic’s argument rests on an incorrect reading of the record.
         Contrary to Epic’s contention, Apple’s procompetitive
         justifications do relate to the app-transactions market.
         Because use of the App Store requires an iOS device, there
         are two ways of increasing App Store output: (1) increasing
         the total number of iOS device users, and (2) increasing the
         average number of downloads and in-app purchases made
         by iOS device users. Below, the district court found that a
         large portion of consumers factored security and privacy into
         their decision to purchase an iOS device—increasing total
         iOS device users. It also found that Apple’s security- and
         privacy-related restrictions “provide[] a safe and trusted user
         experience on iOS, which encourages both users and
         developers to transact freely”—increasing the per-user
         average number of app transactions.
              D. Step Three: Substantially Less Restrictive Means
             The district court did not clearly err when it held that
         Epic failed to prove the existence of substantially less
         restrictive alternatives (LRAs) to achieve Apple’s
         procompetitive rationales. At step three of the Rule of
         Reason, “the burden shifts back to the plaintiff to
         demonstrate that the procompetitive efficiencies could be
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         reasonably achieved through less anticompetitive means.”
         Alston, 141 S Ct. at 2160 (quoting Amex, 138 S. Ct. at 2284).
         When evaluating proposed alternative means, courts “must
         give wide berth to [defendants’] business judgments” and
         “must resist the temptation to require that enterprises employ
         the least restrictive means of achieving their legitimate
         business objectives.” Id. at 2163, 2166; see also id. at 2161
         (“[A]ntitrust law does not require businesses to use anything
         like the least restrictive means of achieving legitimate
         business purposes.”). As such, this circuit’s test—which the
         Supreme Court approved in Alston—requires a
         “substantially less restrictive” alternative. O’Bannon, 802
         F.3d at 1070 (emphasis added) (quoting Tanaka v. Univ. of
         S. Cal., 252 F.3d 1059, 1063 (9th Cir. 2001)). To qualify as
         “substantially less restrictive,” an alternative means “must
         be ‘virtually as effective’ in serving the [defendant’s]
         procompetitive purposes . . . without significantly increased
         cost.” Id. at 1074 (quoting County of Tuolumne v. Sonora
         Cmty. Hosp., 236 F.3d 1148, 1159 (9th Cir. 2001)).
             Because LRAs inform the injunctive relief that a district
         court may enter if a plaintiff prevails, courts must also keep
         in mind “a healthy respect for the practical limits of judicial
         administration” when evaluating proposed LRAs. Alston,
         141 S. Ct. at 2163. Courts should not “impose a duty . . . that
         it cannot explain or adequately and reasonably supervise.”
         Id. (quoting Verizon Commc’ns Inc. v. L. Offs. Of Curtis V.
         Trinko, LLP, 540 U.S. 398, 415 (2004)).
             We review a district court’s findings on the existence of
         substantially less restrictive means for clear error. See, e.g.,
         NCAA Antitrust Litig., 958 F.3d at 1260; O’Bannon, 802
         F.3d at 1074. This includes both the “virtually as effective”
         and “significantly increased cost” components encompassed
         in that finding. See NCAA Antitrust Litig., 958 F.3d. at 1260.
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                  1. Proposed LRA to the Distribution Restriction
             Epic argues that Apple already has an LRA at its disposal
         for the distribution restriction: the “notarization model” that
         Apple uses for app distribution on its desktop and laptop
         operating system (macOS). 16 The notarization model sits
         somewhere between iOS’s “walled garden” and the open-
         platform model that characterizes some app-transaction
         platforms. Unlike on iOS, the Mac Store (the Apple-run
         equivalent of the iOS App Store for Mac computers) is not
         the exclusive means for macOS users to download apps;
         instead, users can download apps from the Mac Store or
         anywhere else on the internet. Also unlike on iOS, a
         developer can distribute a macOS app to users without first
         submitting it to Apple. But, regardless of how the developer
         distributes that app, it will carry a warning that Apple has
         not scanned it for malware. The developer, however, can
         choose to submit the app to Apple. If the app passes Apple’s
         malware scan, then the developer can distribute the app to
         users—again, through the Mac Store or otherwise—without
         the warning that accompanies unscanned apps.
              The malware scanning that Apple performs in the
         notarization model is not the same as the full app review that
         it conducts on iOS apps. Importantly, the notarization model
         does not include human review—a contextual review that,
         as found by the district court, cannot currently be automated.
         As part of iOS human review, a reviewer confirms that an
         app corresponds to its marketing description to weed out
         “Trojan Horse” apps or “social engineering” attacks that


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           In the district court, Epic also proposed the “enterprise model” (which
         Apple already implements for some iOS apps), but Epic does not
         advance that model on appeal as a proposed LRA.
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         trick users into downloading by posing as something they are
         not. The reviewer also checks that the app’s entitlements are
         reasonable for its purpose—rejecting, for example, a Tic-
         Tac-Toe game that asks for camera access and health data,
         while approving camera access for a social media app. On
         occasion, human review also detects novel, well-disguised
         malware attacks. Despite Epic carrying the burden at step
         three of the Rule of Reason, it was not clear before the
         district court—and still is not entirely clear—how Epic
         proposes that the notarization model translates from macOS
         to iOS. In particular, it is unclear whether the proposed
         model would incorporate human review and what type (if
         any) of licensing scheme Apple could implement to
         complement the notarization model. 17 Whatever the precise
         form of Epic’s proposed notarization model, the district
         court did not err in rejecting it.
             First, to the extent Epic argues that Apple could jot-for-
         jot adopt macOS’s notarization model without adding
         human review, Epic failed to establish that this model would
         be “virtually as effective” in accomplishing Apple’s
         procompetitive rationales of enhancing consumer appeal and
         distinguishing the App Store from competitor app-
         transaction platforms by improving user security and
         privacy. See O’Bannon, 802 F.3d at1073. The district court

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            There is even some discrepancy between the injunctive relief Epic
         requests and the basic mechanics of the notarization system. As
         explained, the notarization model labels unscanned apps with a warning.
         Yet Epic requested an injunction that would prohibit Apple from in any
         way “impeding or deterring the distribution of iOS apps” through non-
         App Store “distribution channel[s].” A malware warning would
         seemingly steer some consumers back to the App Store—raising some
         question of whether it would violate the “impeding or deterring”
         prohibition.
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         ultimately found that the record contained “some evidence”
         that macOS computers experience higher malware rates than
         iOS devices. It also noted a third-party report that Android
         devices have higher malware rates than iOS ones due to
         Trojan Horse apps being distributed through open app-
         transaction platforms. And it credited Apple’s anecdotal
         evidence that human review sometimes detects novel
         malware attacks that slip through malware scans. Moreover,
         the district court found “compelling” Apple’s explanation of
         why human review is necessary “against certain types of
         attacks.” And it found that “Epic Games did not explain
         how, if at all” a purely automated process could screen for
         such threats. It also noted that Epic’s security expert
         testified that he did not consider fraud-prevention in his
         security analysis, that his opinion on the value-added of
         human app review “may change” if he did, and that
         automated protections “do not protect users against” social-
         engineering threats. Based on this record, the district court
         did not clearly err in finding that a process without human
         app review would not be “virtually as effective” as Apple’s
         current model.
             Second, to the extent Epic proposes a notarization model
         that incorporates human app review, Epic failed to develop
         how Apple could be compensated in such a model for third-
         party developers’ use of its IP. Epic argues that “app review
         can be relatively independent on app distribution” and
         envisions a model in which a developer would submit an
         app, Apple would review it, and then “send it back to the
         developer to be distributed directly or in another store.” For
         example, Epic could submit a gaming app to Apple; Apple
         would scan it for malware and subject it to human review;
         and then Epic could choose to distribute it through the App
         Store, the Epic Games Store, or both.
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              While such a model would clearly be “virtually as
         effective” in achieving Apple’s security and privacy
         rationales (it contains all elements of Apple’s current
         model), Epic simply failed to develop how such a model
         would allow Apple to be compensated for developers’ use of
         its IP. At closing argument, the district court asked Epic
         whether its requested injunctive relief would allow Apple to
         impose some sort of licensing fee. Epic responded that
         “Apple can charge,” but it offered no concrete guidance on
         how to do so. Instead, Epic stated only that Apple “could
         charge certain developers more than others based on the
         advantage that they take of the platform” and that it
         “expect[s], given the innovation in Cupertino, that [Apple]
         would find ways to profit from their intellectual property and
         other contributions.” The district court accordingly found
         that Epic’s proposed distribution LRAs “leave unclear
         whether Apple can collect licensing royalties and, if so, how
         it would do so” and thus declined to consider them as “not
         sufficiently developed.”
             On appeal, Epic attempts to transfigure into an LRA the
         district court’s off-hand statement noting the absence of
         “evidence that Apple could not create a tiered licensing
         scheme[,] which would better correlate the value of its
         intellectual property to the various levels of use by
         developers.” It is, however, Epic’s burden at step three to
         prove that a tiered licensing scheme (or some other payment
         mechanism) could achieve Apple’s IP-compensation
         rationale. Without any evidence in the record of what this
         tiered licensing scheme would look like, we cannot say that
         it would be “virtually as effective” without “significantly
         increased cost.” O’Bannon, 802 F.3d at 1074. Nor can we
         even “explain” it, let alone direct the district court to craft an
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         injunction that it could “adequately and reasonably
         supervise.” Alston, 141 S. Ct. at 2163.
                  2. Proposed LRA to the IAP Requirement
             Epic proposes access to competing payment processors
         as an LRA to Apple’s IAP requirement. Like the distribution
         requirement LRA, this LRA suffers from a failure of proof
         on how it would achieve Apple’s IP-compensation
         rationale. 18 As the district court noted, in a world where
         Apple maintains its distribution restriction but payment
         processing is opened up, Apple would still be contractually
         entitled to its 30% commission on in-app purchasers. Apart
         from any argument by Epic, the district court “presume[d]”
         that Apple could “utilize[e] a contractual right to audit
         developers . . . to ensure compliance with its commissions.”
         But the court then rejected such audits as an LRA because
         they “would seemingly impose both increased monetary and
         time costs.”
              E. Step Four: Balancing
             Epic—along with several amici, including the United
         States and thirty-four state attorneys general—argue that the
         district court erred by not proceeding to a fourth, totality-of-
         the-circumstances step in the Rule of Reason and balancing

         18
            As Epic argues, the district court’s ultimate conclusion on the security
         rationale (that opening up payment processing would undermine Apple’s
         “competitive advantage on security issues”) seems difficult to square
         with several of the court’s antecedent factual findings (e.g., that “Apple
         has not show how its [IAP] process is any different” and that “any
         potential for fraud prevention [through IAP] is not put into practice”).
         Because Epic’s LRA fails on the IP-compensation aspect, we need not
         decide whether the district court clearly erred when it also rejected the
         LRA for not being virtually as effective in accomplishing Apple’s
         security and privacy rationales.
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         the anticompetitive effects of Apple’s conduct against its
         procompetitive benefits. We hold that our precedent
         requires a court to proceed to this fourth step where, like
         here, the plaintiff fails to carry its step-three burden of
         establishing viable less restrictive alternatives. However,
         the district court’s failure to expressly do so was harmless in
         this case.
             We have been inconsistent in how we describe the Rule
         of Reason. Some decisions, when describing the Rule of
         Reason, contemplate a fourth step. See, e.g., Qualcomm, 969
         F.3d at 991; County of Tuolumne, 236 F.3d at 1160. Others
         do not. See, e.g., NCAA Antitrust Litig., 958 F.3d at 1263;
         Tanaka, 252 F.3d at 1063. Because of the paucity of cases
         that survive step one (let alone require a court to exhaust the
         three agreed-upon steps), most of our decisions have not
         required us to actually proceed to the portion of the analysis
         where Epic and its amici argue balancing would occur. 19
             The exception is County of Tuolumne, which provides
         the most on-point guidance regarding the existence of a
         fourth step. There, we held: “Because plaintiffs have failed
         to meet their burden of advancing viable less restrictive
         alternatives, we reach the balancing stage. We must balance
         the harms and benefits of the [challenged restrictions] to
         determine whether they are reasonable.” 236 F.3d at 1160
         (citation omitted). We then concluded, with just one
         sentence of analysis, that “any anticompetitive harm is offset


         19
            In Alston, the Supreme Court cited an amicus brief reporting that
         courts have decided 90% of Rule of Reason cases since 1977 at step one.
         141 S. Ct. at 2160–61. A similar amicus brief filed in this case echoes
         this statistic and reports that the figure rises to 97% when considering
         only post-1999 cases.
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         by the procompetitive effects of [defendant’s] effort to
         maintain the quality of patient care that it provides.” Id.
             Supreme Court precedent neither requires a fourth step
         nor disavows it. In the Court’s two most recent Rule of
         Reason decisions, it discussed only the three agreed-upon
         steps. See Alston, 141 S. Ct. at 2160; Amex, 138 S. Ct. at
         2284. But the Court did not characterize that test as the
         exclusive expression of the Rule of Reason. Alston stated
         that the Court “has sometimes spoken of ‘a three-step,
         burden-shifting framework,” emphasized that those “steps
         do not represent a rote checklist” or “an inflexible substitute
         for careful analysis,” and approvingly cited one of the
         Areeda and Hovenkamp treatises as using a “slightly
         different ‘decisional model.’” 141 S. Ct. at 2160 (emphasis
         added).
             We are skeptical of the wisdom of superimposing a
         totality-of-the-circumstances balancing step onto a three-
         part test that is already intended to assess a restraint’s overall
         effect. Neither Epic nor any amicus has articulated what this
         balancing really entails in a given case. Epic argues only
         that the district court must “weigh[]” anticompetitive harms
         against procompetitive benefits, and the United States
         describes step four as a “qualitative assessment of whether
         the harms or benefits predominate.” Nor is it evident what
         value a balancing step adds. Several amici suggest that
         balancing is needed to pick out restrictions that have
         significant anticompetitive effects but only minimal
         procompetitive benefits. But the three-step framework is
         already designed to identify such an imbalance: A court is
         likely to find the purported benefits pretextual at step two, or
         step-three review will likely reveal the existence of viable
         LRAs. We are thus “wary about [this] invitation[] to ‘set sail
         on a sea of doubt.’” Alston, 141 S. Ct. at 2166 (quoting
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         United States v. Addyston Pipe & Steel Co., 85 F. 271, 284
         (6th Cir. 1898) (Taft, J.)).
             Nonetheless, we are bound by County of Tuolumne and
         mindful of Alston’s warning that the first three steps of the
         Rule of Reason are not a “rote checklist.” Therefore, where
         a plaintiff’s case comes up short at step three, the district
         court must proceed to step four and balance the restriction’s
         anticompetitive harms against its procompetitive benefits.
         In most instances, this will require nothing more than—as in
         County of Tuolumne—briefly confirming the result
         suggested by a step-three failure: that a business practice
         without a less restrictive alternative is not, on balance,
         anticompetitive. But the Sherman Act is a flexible statute
         that has and will continue to evolve to meet our country’s
         changing economy, so we will not “embarrass the future” by
         suggesting that will always be the case. Nw. Airlines, Inc. v.
         Minnesota, 322 U.S. 292, 300 (1944).
               Turning to the record here, the district court’s failure to
         explicitly reach the fourth step was harmless. Even though
         it did not expressly reference step four, it stated that it
         “carefully considered the evidence in the record and
         . . . determined, based on the rule of reason,” that the
         distribution and IAP restrictions “have procompetitive
         effects that offset their anticompetitive effects” (emphasis
         added). This analysis satisfied the court’s obligation
         pursuant to County of Tuolumne, and the court’s failure to
         expressly give this analysis a step-four label was harmless.
         III.    Sherman Act Section 1: Tying
             In addition to its general restraint-of-trade claim, Epic
         brought a Section 1 claim asserting that Apple unlawfully
         tied together app distribution (the App Store) and in-app
         payment processing (IAP). On appeal, Epic argues that (1)
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         the district court clearly erred when it found that Epic did not
         identify separate products, and (2) we can enter judgment in
         its favor because the tie is unlawful, either per se or pursuant
         to the Rule of Reason. We agree with Epic that the district
         court clearly erred in its separate-products finding, but we
         find that error to be harmless. The Rule of Reason applies
         to the tie involved here, and, for the reasons already
         explained, Epic failed to establish that Apple’s design of the
         iOS ecosystem—which ties the App Store and IAP
         together—is anticompetitive.
              A. Existence of a Tie
              “A tying arrangement is ‘an agreement by a party to sell
         one product but only on the condition that the buyer also
         purchases a different (or tied) product, or at least agrees that
         he will not purchase that product from any other supplier.’”
         Kodak, 504 U.S. at 461 (quoting N. Pac. R. Co. v. United
         States, 356 U.S. 1, 5–6 (1958)). To prove the existence of a
         tie, a party must make two showings.
              First, the arrangement must, of course, involve two (or
         more) separate products. Pursuant to Jefferson Parish and
         Kodak, we apply a consumer-demand test when conducting
         this inquiry: To constitute two separate products, “[t]here
         must be sufficient consumer demand so that it is efficient for
         a firm to provide” the products separately. Kodak, 504 U.S.
         at 462 (citing Jefferson Parish, 466 U.S. at 21–22).
         Importantly, the separate-products inquiry “turns not on the
         functional relation between them, but rather on the character
         of the demand for the two items.” Jefferson Parish, 466 U.S.
         at 19 & n.30. This consumer-demand test, in turn, has two
         parts: (1) that it is possible to separate the products, and (2)
         that it is efficient to do so, as inferred from circumstantial
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         evidence. See Areeda & Hovenkamp, Antitrust Law, supra,
         ⁋⁋ 1743–45.
             The efficiency showing does not require a full-blown
         economic analysis. Because the showing is just a threshold
         step to reaching the merits of a tie (including, sometimes, the
         application of a per se rule), it would be incongruous to
         require a resource-intensive showing. See N. Pac. R. Co.,
         356 U.S. at 5 (per se rules are meant to “avoid[] the necessity
         for an incredibly complicated and prolonged economic
         investigation”). Accordingly, the existence of separate
         products is inferred from “more readily observed facts.”
         Areeda & Hovenkamp, Antitrust Law, supra, ⁋ 1745c.
         These include consumer requests to offer the products
         separately, disentangling of the products by competitors,
         analogous practices in related markets, and the defendant’s
         historical practice. See Jefferson Parish, 466 U.S. at 22
         (noting that patients and surgeons “often request specific
         anesthesiologists [the tied service] to come to a hospital [the
         tying service]” and “other hospitals often permit
         anesthesiologic services to be purchased separately”);
         Kodak, 504 U.S. at 463 (finding sufficient at the 12(b)(6)
         stage allegations that “consumers would purchase service
         without parts” and that the defendant had sold them
         “separately in the past”).
             Second, even where a transaction involves separate
         products, it is not necessarily a tie; the seller must also “force
         the buyer into the purchase of a tied product that the buyer
         either did not want at all, or might have preferred to purchase
         elsewhere on different terms.” Jefferson Parish, 466 U.S. at
         12. Were a buyer merely to agree “to buy [a] second product
         on its own merits” absent any coercion, there would be no
         tie. Areeda & Hovenkamp, Antirust Law, supra, ⁋ 1752.
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             We review a finding that no tie occurred for clear error.
         Krehl v. Baskin-Robbins Ice Cream Co., 664 F.2d 1348,
         1354 (9th Cir. 1982) (reviewing separate-products finding
         for clear error); Mozart Co. v. Mercedes-Benz of N. Am.,
         Inc., 833 F.2d 1342, 1346 (9th Cir. 1987) (treating coercion
         as a fact question).
             Here, the district court found that there was no tie
         because app distribution and IAP are not separate products.
         It based this finding on four rationales—each of which is
         either clearly erroneous or incorrect as a matter of law.
              To begin, the district court erred as a matter of law when
         it concluded that IAP was not separate from app distribution
         because IAP is “integrated into . . . iOS devices.” Jefferson
         Parish expressly rejects an approach to the separate-
         products inquiry based on the “functional relation” between
         two purported products. 466 U.S. at 19.
             Next, the district court clearly erred when it found that
         “Epic Games presented no evidence showing that demand
         exists for IAP as a standalone product.” Here, the App Store
         and IAP clearly can be separated because Apple already
         does so in certain contexts, namely that IAP is not required
         for in-app purchases of physical goods. The efficiency
         showing is also met. Epic produced evidence that it,
         Facebook, Microsoft, Spotify, Match, and Netflix, have all
         tried to convince Apple to let them develop their own in-app
         payment solutions. The Epic Games Store—a direct
         competitor of Apple in the mobile-games submarket—
         delinks distribution from payment processing. And prior to
         IAP’s development in 2009, Apple distributed apps through
         the App Store but permitted developers to use their own in-
         app payment systems.
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             Relatedly, the district court clearly erred when it
         reasoned that, even if Apple did not require IAP, Apple
         would still be entitled to collect a commission on payments
         made and, therefore, “no economically rational developer
         would choose to use the alternative [payment] processor.”
         The district court itself found that “Epic Games raises
         legitimate concerns” about the non-price features of IAP,
         including that: “Apple does a poor job of mediating disputes
         between a developer and its customers”; that Apple’s one-
         size-fits-all refund approach “leads to poor [customer]
         experiences”; and that IAP’s exclusion of developers from
         transactions “can also increase fraud.”
             Finally, the district court erred as a matter of law when it
         concluded that a product in a two-sided market can never be
         broken into multiple products. Despite Apple’s strained
         effort to portray this as a factual finding, the district court
         imposed a bright-line legal rule. But Amex simply does not
         stand for the proposition that any two-sided platform will
         necessarily relate only to one market. Instead, it emphasized
         that market definition must “reflect[] commercial realities.”
         138 S. Ct. at 2285. Indeed, if Amex truly required a one-
         platform, one-market rule, then the district court’s market
         definition—mobile gaming transactions, instead of all app
         transactions—would be erroneous, despite the court’s
         extensive findings that game and non-game apps are
         characterized by significantly different demand. 20


         20
            We also reject Apple’s argument that that there is no tie because
         “thousands of developers . . . offer no in-app purchase[s].” True, a
         classic tie is: “I will sell you X widgets only if you buy Y bolts from
         me.” Here, the DPLA essentially provides: “Apple will sell you app-
         distribution transactions only if you buy your in-app-purchase-
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              B. Lawfulness of the Tie
             A tie can be unlawful pursuant to either a modified per
         se rule or the Rule of Reason. A tie is per se unlawful if (1)
         the defendant has market power in the tying product market,
         and (2) the “tying arrangement affects a ‘not insubstantial
         volume of commerce’ in the tied product market.” Blough
         v. Holland Realty, Inc, 574 F.3d 1084, 1089 (9th Cir. 2009)
         (quoting Cascade Health Solutions v. PeaceHealth, 515
         F.3d 883, 912–13 (9th Cir. 2008)). The first prong requires
         the market-power inquiry standard throughout antitrust law.
         The second prong requires only that the tie affect an amount
         of commerce in the tied product market that is not “de
         minimis.” Datagate, Inc. v. Hewlett-Packard Co., 60 F.3d
         1421, 1426 (9th Cir. 1995). These requirements are met
         here: Apple has market power in the app-distribution market.
         And the tie affects a non “de minimis” amount of commerce
         in the in-app-payment-processing market: Apple requires
         IAP to be used for more than half of the transactions that
         comprise a $100 billion market.
             Nonetheless, we join the D.C. Circuit in holding that per
         se condemnation is inappropriate for ties “involv[ing]
         software that serves as a platform for third-party
         applications.” Microsoft, 253 F.3d at 89. “It is only after
         considerable experience with certain business relationships
         that courts classify them as per se violations.” Broad.
         Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 9
         (1979) (quoting Topco Assocs., 405 U.S. at 606). That is

         processing requirements from Apple.” Substituting a requirements term
         for a quantity term does not change the nature of the agreement. See
         Kodak, 504 U.S. at 461 (ties include agreement[s] “to sell one product
         but only on the condition that the buyer . . . not purchase that product
         from any other supplier” (citation omitted)).
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         because per se condemnation embodies a judicial
         assessment that a category of restraints is “plainly
         anticompetitive” and “lack[ing] . . . [in] any redeeming
         virtue” such that it can be “conclusively presumed illegal.”
         Id. at 7–8 (citations omitted). Given the costs of improperly
         condemning a practice across the board, extending a per se
         rule requires caution and judicial humility. See White Motor
         Co. v. United States, 372 U.S. 253, 263 (1963) (“We need to
         know more than we do about the actual impact of these
         arrangements on competition to decide whether they
         . . . should be classified as per se violations of the Sherman
         Act.”); Microsoft, 253 F.3d at 94 (“We do not have enough
         empirical evidence regarding the effect of [the] practice
         . . . to exercise sensible judgment regarding that entire class
         of behavior.”). Based on the record, we do not have the level
         of confidence needed to universally condemn ties related to
         app-transaction platforms that combine multiple
         functionalities. See Microsoft, 253 F.3d at 93 (“[B]ecause of
         the pervasively innovative character of platform software
         markets, tying in such markets may produce efficiencies that
         courts have not previously encountered and thus the
         Supreme Court had not factored into the per se rule as
         originally conceived.”).
              The tie in this case differs markedly from those the
         Supreme Court considered in Jefferson Parish and prior
         tying cases. Particularly, “[i]n none of these cases was the
         tied good . . . technologically integrated with the tying
         good.” Microsoft, 253 F.3d at 90. Moreover, none of the
         ties presented any purported procompetitive benefits that
         could not be achieved by adopting quality standards for
         third-party suppliers of the tied good, as Apple does here.
         Id.; see also Int’l Salt Co. v. United States, 332 U.S. 392, 398
         (1947) (noting purported benefit can be achieved by
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         implementing quality control for machine consumables),
         abrogated on other grounds by Ill. Tool, 547 U.S. 28; Int’l
         Bus. Machs. Corp. v. United States, 298 U.S. 131, 139
         (1936) (same).
              Moreover, while Jefferson Parish’s separate-products
         test filters out procompetitive bundles from per se scrutiny
         in traditional markets, we are skeptical that it does so in the
         market involved here. Software markets are highly
         innovative and feature short product lifetimes—with a
         constant process of bundling, unbundling, and rebundling of
         various functions. In such a market, any first-mover product
         risks being labeled a tie pursuant to the separate-products
         test. See Microsoft, 253 F.3d at 92. If per se condemnation
         were to follow, we could remove would-be popular products
         from the market—dampening innovation and undermining
         the very competitive process that antitrust law is meant to
         protect. The Rule of Reason guards against that risk by
         “afford[ing] the first mover an opportunity to demonstrate
         that an efficiency gain from its ‘tie’ adequately offsets any
         distortion of consumer choice.” Id.
             Applying the Rule of Reason to the tie involved here, it
         is clearly lawful. Epic’s tying claim (that app distribution
         and payment processing are tied together) is simply a
         repackaging of its generic Section 1 claim (that the
         conditions under which Apple offers its app-transactions
         product are unreasonable). For the reasons we explained
         above, Epic failed to carry its burden of proving that Apple’s
         structure of the iOS ecosystem is unreasonable. See supra
         section II.
         IV.    Sherman Act Section 2: Monopoly Maintenance
             We now consider Epic’s Sherman Act Section 2 claim
         that Apple unlawfully maintained a monopoly. Section 2
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         makes it unlawful to “monopolize, or attempt to monopolize,
         or combine or conspire . . . to monopolize” a market. 15
         U.S.C. § 2. A Section 2 monopolization claim “has two
         elements: (1) the possession of monopoly power in the
         relevant market and (2) the willful acquisition or
         maintenance of that power as distinguished from growth or
         development as a consequence of a superior product,
         business acumen, or historic accident.” United States v.
         Grinnell Corp., 384 U.S. 563, 570–71 (1966); accord
         Qualcomm, 969 F.3d at 990; Microsoft, 253 F.3d at 50.
             At step one, the plaintiff must establish that the
         defendant possesses monopoly power, which is the
         substantial ability “to control prices or exclude competition.”
         Grinnell, 384 U.S. at 571; accord United States v. Syufy
         Enters., 903 F.2d 659, 664 (9th Cir. 1990). Monopoly power
         differs in degree from market power, requiring “something
         greater.” Kodak, 504 U.S. at 481; see also Areeda &
         Hovenkamp, Antitrust Law, supra, ⁋ 600b (market power
         and monopoly power exist along a spectrum). Like market
         power, monopoly power can be established either directly or
         indirectly. Rebel Oil, 51 F.3d at 1434; see Microsoft, 253
         F.3d at 51.
              At step two, the plaintiff must show that the defendant
         acquired or maintained its monopoly through
         “anticompetitive conduct.” Trinko, 540 U.S. at 407. This
         anticompetitive-conduct requirement is “essentially the
         same” as the Rule of Reason inquiry applicable to Section 1
         claims. Qualcomm, 969 F.3d at 991; see also Microsoft, 253
         F.3d at 59 (“[I]t is clear . . . that the analysis under section 2
         is similar to that under section 1 regardless whether the rule
         of reason label is applied.” (citation omitted)). Where, like
         here, the plaintiff challenges the same conduct pursuant to
         Sections 1 and 2, we can “review claims under each section
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         simultaneously.” Qualcomm, 969 F.3d at 991. And if “a
         court finds that the conduct in question is not anticompetitive
         under § 1, the court need not separately analyze the conduct
         under § 2.” Id.
             At step one in this case, the district court found that
         although Apple possesses “considerable” market power in
         the market for mobile-game transactions, that power is not
         durable enough to constitute monopoly power given the
         influx nature of the market. It then, at step two, echoed its
         Rule of Reason conclusion that Epic failed to establish
         Apple’s restrictions were anticompetitive.
             We affirm the district court’s rejection of Section 2
         liability. Epic does not argue on appeal that the district court
         clearly erred in finding that Apple lacks monopoly power in
         the mobile-games market. It argues only that the district
         court erred in rejecting its single-brand markets in which
         Apple would have a 100% market share—an argument we
         reject above. See supra section I. Moreover, even assuming
         Apple has monopoly power, Epic failed to prove Apple’s
         conduct was anticompetitive. See supra sections II–III.
         V.     Breach of Contract
             Apple counter-sued Epic for breach of contract. Epic
         stipulated that it breached the DPLA when it implemented
         the Fortnite hotfix, which allowed it to process in-game
         transactions in violation of Apple’s IAP restriction. Epic
         raised several affirmative defenses, however, and argued
         that the DPLA is illegal, void as against public policy, and
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         unconscionable. The district court rejected each defense,
         and Epic now challenges the illegality holding on appeal. 21
             The parties agree that Epic’s illegality defense rises and
         falls with its Sherman Act claims. Because we affirm the
         district court’s holding that Epic failed to prove Apple’s
         liability pursuant to the Sherman Act, we also affirm its
         rejection of Epic’s illegality defenses.
         VI.       California’s Unfair Competition Law
             We now turn to Apple’s cross-appeal, beginning with its
         arguments concerning the UCL. The district court found that
         Epic suffered an injury sufficient to confer Article III
         standing, concluded that Apple’s anti-steering provision
         violates the UCL’s unfair prong, and entered an injunction
         prohibiting Apple from enforcing the anti-steering provision
         against any developer. Apple challenges each aspect on
         appeal. We affirm.
               A. Standing
            Article III limits federal courts’ jurisdiction to “[c]ases”
         and “[c]ontroversies.” U.S. Const. art. III, § 2. “One

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            In its briefs, Epic also asserts that the district court erred in ruling that
         the DPLA was neither void-against-public-policy nor unconscionable,
         but the only substantive argument it makes is that the DPLA violates the
         Sherman Act. These doctrines, however, do not sound in express
         illegality. See Cal. Civ. Code § 1667(2) (a contract is void if it is
         “contrary to the policy of express law, though not expressly prohibited”);
         Lhotka v. Geographic Expeditions, Inc., 181 Cal. App. 4th 816, 821, 824
         (2010) (a contract is unconscionable if there is a disparity in bargaining
         power and the contract “reallocates risks in an objectively unreasonable
         or unexpected manner”). As such, Epic’s invocation of these doctrines
         without any relevant argument is insufficient to raise them on appeal.
         See Singh v. Am. Honda Fin. Corp., 925 F.3d 1053, 1075 n.22 (9th Cir.
         2019).
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         essential aspect of this [limitation] is that any person
         invoking the power of a federal court must demonstrate
         standing to do so.” Va. House of Delegates v. Bethune-Hill,
         139 S. Ct. 1945, 1950 (2019) (quoting Hollingsworth v.
         Perry, 570 U.S. 693, 704 (2013)). Constitutional standing
         requires a showing of: “(1) a concrete and particularized
         injury, that (2) is fairly traceable to the challenged conduct,
         and (3) is likely to be redressed by a favorable decision.” Id.
         Article III requires “that an ‘actual controversy’ persist
         throughout all stages of litigation.” Id. at 1951 (quoting
         Hollingsworth, 570 U.S. at 705).
             Apple terminated Epic’s iOS developer account in
         August 2020. Then in September 2021 after the district
         court issued its order holding that Epic breached the DPLA,
         Apple informed Epic that it had no intention of reinstating
         Epic’s developer account. As a result, Epic has no apps
         remaining on the App Store. Apple therefore argues that
         Epic is no longer injured by the anti-steering provision.
         Apple’s argument, however, overlooks two critical aspects
         of the record. First, while Epic itself has no apps on the App
         Store, its subsidiaries do—causing Epic to be injured
         through the anti-steering provision’s effects on its
         subsidiaries’ earnings. Second, Epic is a competing game
         distributor through the Epic Games Store and offers a 12%
         commission compared to Apple’s 30% commission. If
         consumers can learn about lower app prices, which are made
         possible by developers’ lower costs, and have the ability to
         substitute to the platform with those lower prices, they will
         do so—increasing the revenue that the Epic Games Store
         generates. As such, the district court did not clearly err in
         finding that Apple’s anti-steering provision injures Epic.
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            B. Merits
             As relevant here, the UCL prohibits “any [1] unlawful,
         [2] unfair or [3] fraudulent business act or practice.” Cal.
         Bus. & Prof. Code § 17200. As the UCL’s three-prong
         structure makes clear, a business practice may be “unfair,”
         and therefore illegal under the UCL, “even if not specifically
         proscribed by some other law.” Cel-Tech Commc’ns, Inc. v.
         L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). The
         unfair prong is “intentionally framed in its broad, sweeping
         language, precisely to enable judicial tribunals to deal with
         the innumerable ‘new schemes which the fertility of man’s
         invention would contrive.’” Id. (quoting Am. Philatelic Soc.
         v. Claibourne, 3 Cal. 2d 689, 698 (1935)); see also People
         ex rel. Mosk v. Nat’l Research Co. of Cal., 201 Cal. App. 2d
         765, 772 (1962) (the UCL covers unfair practices that “may
         run the gamut of human ingenuity and chicanery”).
             The California Supreme Court has refined this “wide
         standard,” Cel-Tech, 20 Cal. 4th at 181, into two tests
         relevant to this litigation. First, to support “any finding of
         unfairness to competitors,” a court uses the “tethering” test,
         which asks whether the defendant’s conduct “threatens an
         incipient violation of an antitrust law, or violates the policy
         or spirit of one of those laws because its effects are
         comparable to or the same as a violation of the law, or
         otherwise significantly threatens or harms competition.” Id.
         at 186–87 (emphasis added). Second, to support a finding of
         unfairness to consumers, a court uses the balancing test,
         which “weigh[s] the utility of the defendant’s conduct
         against the gravity of the harm to the alleged victim.”
         Progressive W. Ins. Co. v. Super. Ct., 135 Cal. App. 4th 263,
         285 (2005) (citation omitted). These tests “are not mutually
         exclusive.” Lozano v. AT&T Wireless Servs., Inc., 504 F.3d
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         718, 736 (9th Cir. 2007) (citing Schnall v. Hertz Corp., 78
         Cal. App. 4th 1144 (2000)).
             Here, the district court applied both tests. Through the
         Epic Games Store, Epic is a games-distribution competitor
         of Apple—triggering the competitor test. Through its
         subsidiaries that have apps on the App Store, Epic consumes
         the app transactions that Apple offers in a two-sided
         market—triggering the consumer test. Cf. Amex, 138 S. Ct.
         at 2286 (each side of two-sided market “jointly consume[s]
         a single product” (citation omitted)). Applying the tethering
         test, the court found that the anti-steering provisions
         “decrease       [consumer]        information,”      enabling
         supracompetitive profits and resulting in decreased
         innovation.       It relied on Apple’s own internal
         communications for the proposition that the anti-steering
         provision prevents developers from using two of the three
         “most effective marketing activities,” push notifications and
         email outreach. It then reiterated these factual findings to
         conclude that the provision also violates the balancing test.
             Apple does not directly challenge the district court’s
         application of the UCL’s tethering and balancing tests to the
         facts of this case. Instead, Apple makes two arguments
         attacking UCL liability as a matter of law. Neither is
         supported by California law.
                1. Safe-Harbor Doctrine
             Apple argues that Epic’s failure to establish Sherman Act
         liability forecloses UCL liability pursuant to the UCL’s “safe
         harbor” doctrine, which bars a UCL action where California
         or federal statutory law “absolutely preclude[s] private
         causes of action or clearly permit[s] the defendant’s
         conduct.” Zhang v. Sup. Ct., 57 Cal. 4th 364, 379–80 (2013).
         The safe-harbor doctrine emphasizes that there is a
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         “difference between (1) not making an activity unlawful, and
         (2) making that activity lawful.” Cel-Tech, 20 Cal. 4th at
         183; accord Zhang, 57 Cal. 4th at 379. Accordingly, in
         every instance where a court found the Sherman Act to
         preclude a UCL action, a categorical antitrust rule formed
         the basis of the decision. We held that the judge-made
         baseball exemption—that “the business of providing public
         baseball games for profit . . . [is] not within the scope of the
         federal antitrust laws”—precluded a UCL action. City of
         San Jose v. Off. of the Com’r of Baseball, 776 F.3d 686, 689
         (9th Cir. 2015) (quoting Toolson v. N.Y Yankees, Inc., 346
         U.S. 356, 357 (1953)). A California Court of Appeal
         similarly held that the Colgate doctrine—that it is lawful for
         a company to unilaterally announce the terms on which it
         will deal—precluded a UCL action. Chavez v. Whirlpool
         Corp., 93 Cal. App. 4th 363, 367, 373, 375 (2001).
             Neither Apple nor any of its amici cite a single case in
         which a court has held that, when a federal antitrust claim
         suffers from a proof deficiency, rather than a categorical
         legal bar, the conduct underlying the antitrust claim cannot
         be deemed unfair pursuant to the UCL. Indeed, in a leading
         case on the safe-harbor exception, the California Supreme
         Court permitted a UCL claim against a predatory-price
         scheme to proceed even though the plaintiff failed to
         prove—as state antitrust law requires—that the defendant
         intended to harm competition through the scheme. Cel-
         Tech, 20 Cal. 4th at 183. Apple’s rule would convert any
         Rule of Reason shortcoming into a UCL defense and
         undermine the UCL’s three-prong structure by collapsing
         the “unfair” and “unlawful” prongs into each other. We
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         reject Apple’s proposed rule as foreclosed by California
         law. 22
                 2. Importation of Sherman Act Principles
             Apple next argues that two principles from Sherman Act
         case law preclude UCL liability here. We find neither
         argument persuasive. First, Apple contends that the
         Supreme Court’s decision in Amex—finding in favor of
         American Express in a suit challenging its anti-steering
         provision—bars UCL liability stemming from Apple’s anti-
         steering provision. Apple does not explain how Amex’s fact-
         and market-specific application of the first prong of the Rule
         of Reason establishes a categorical rule approving anti-
         steering provisions, much less one that sweeps beyond the
         Sherman Act to reach the UCL. Amex was based on the
         plaintiff’s failure to establish direct evidence of
         anticompetitive effects through a reduction in output,
         supracompetitive pricing, or excessively high profit
         margins; it was not a blanket approval of anti-steering
         provisions. See Amex, 138 S. Ct. at 2288.
             Second, Apple argues that the UCL mandates trial courts
         to define a relevant market and then conduct the balancing
         test within that market (similar to the Rule of Reason).
         Again, Apple does not cite any California authority for this
         proposition. Moreover, such a rule runs contrary to
         California courts’ repeated instruction that “[n]o inflexible
         rule can be laid down as to what conduct will constitute
         unfair competition.” E.g., Pohl v. Anderson, 13 Cal. App.

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           Several amici contend that, under current California case law, the UCL
         provides insufficient guidance to businesses. That argument, however,
         fundamentally misunderstands our role when we interpret and apply state
         law while exercising diversity or supplemental jurisdiction.
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         2d 241, 242 (1936) (citation omitted). It also contradicts a
         California Supreme Court decision that conducted
         something akin to quick-look review (in which a precise
         market-definition is not needed) when confronted with
         significant restrictions on the free flow of price information.
         See Oakland-Alameda Cnty. Builders’ Exch. v. F. P. Lathrop
         Constr. Co., 4 Cal. 3d 354, 363–64 (1971) (invalidating a
         prohibition on unsealing competitor bids after bidding had
         culminated on the grounds that it “restrain[ed] open price
         competition and unlawfully tamper[ed] with the pricing
         structure”).
             C. Injunctive Relief
             Apple also argues that (1) the district clearly erred when
         it found that Epic’s injuries were irreparable, and (2) it
         abused its discretion when applying the injunction against all
         developers, not just Epic’s subsidiaries that have apps on the
         App Store. We disagree.
             Even where the UCL authorizes injunctive relief
         pursuant to state law, a federal court must also ensure that
         the relief comports with “the traditional principles governing
         equitable remedies in federal courts.” Sonner v. Premier
         Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020). To issue
         an injunction, the court must find: “(1) that [the plaintiff] has
         suffered an irreparable injury; (2) that remedies available at
         law, such as monetary damages, are inadequate to
         compensate for that injury; (3) that, considering the balance
         of hardships between the plaintiff and defendant, a remedy
         in equity is warranted; and (4) that the public interest would
         not be disserved by a permanent injunction.” Galvez v.
         Jaddou, 52 F.4th 821, 831 (9th Cir. 2022) (quoting eBay Inc.
         v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006)).
         Moreover, injunctive relief must be no “more burdensome to
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         the defendant than necessary to provide complete relief to
         the plaintiff[].” L.A. Haven Hospice, Inc. v. Sebelius, 638
         F.3d 644, 664 (9th Cir. 2011) (quoting Califano v. Yamasaki,
         442 U.S. 682, 702 (1979)). We review a district court’s
         decision to grant a permanent injunction, and the scope of
         that injunction, for an abuse of discretion and review the
         factual      findings     underlying      the      injunction
         for clear error. NCAA Antitrust Litig., 958 F.3d at 1253.
                 1. Issuance of the Injunction
             First, the district court did not clearly err in finding that
         Epic suffered an injury for which monetary damages would
         be inadequate. While economic injury is generally not
         considered irreparable, it is where the underlying injury does
         not readily lend itself to calculable money damages. See
         Rent-A-Ctr., Inc. v. Canyon Television & Appliance Rental,
         Inc., 944 F.2d 597, 603 (9th Cir. 1991). Here, the district
         court found that the anti-steering provision “is not easily
         remedied with money damages,” a finding that has ample
         support in the record. In 2019, there were over 300,000
         games on the App Store. Calculating the damages caused by
         the anti-steering provision would require a protracted and
         speculative inquiry into: the availability of each of those
         300,000 games on the Epic Games Store, the percentage of
         revenue on each game that comes from users who multi-
         home and can therefore substitute, and how high the
         substitution rate would be among those multi-home users. 23


         23
            Apple also asserts—in one sentence and without any authority—that
         the district court abused its discretion in failing to hold that Apple’s
         unclean-hands argument precluded injunctive relief. This passing
         statement was insufficient to raise this issue on appeal. See Singh, 925
         F.3d at 1075 n.22.
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                2. Scope of the Injunction
             Second, the district court did not abuse its discretion
         when setting the scope of the injunctive relief because the
         scope is tied to Epic’s injuries. The district court found that
         the anti-steering provision harmed Epic by (1) increasing the
         costs of Epics’ subsidiaries’ apps that are still on the App
         Store, and (2) preventing other apps’ users from becoming
         would-be Epic Games Store consumers. Because Epic
         benefits in this second way from consumers of other
         developers’ apps making purchases through the Epic Games
         Store, an injunction limited to Epic’s subsidiaries would fail
         to address the full harm caused by the anti-steering
         provision.
         VII.   Attorney Fees
             We reverse the district court’s holding that the DPLA’s
         indemnification provision does not require Epic to pay
         Apple’s attorney fees related to this litigation. Based on the
         DPLA’s choice-of-law provision, we interpret its
         indemnification provision pursuant to California contact-
         interpretation principles. We review the district court’s
         interpretation of a contract de novo. Shivkov v. Artex Risk
         Sols., Inc., 974 F.3d 1051, 1058 (9th Cir. 2020).
             California courts presume that “[a] clause that contains
         the words ‘indemnify’ and ‘hold harmless’ generally
         obligates the indemnitor to reimburse the indemnitee for any
         damages the indemnitee becomes obligated to pay third
         persons—that is, it relates to third party claims, not attorney
         fees incurred in a breach of contract action between the
         parties to the indemnity agreement itself.” Alki Partners, LP
         v. DB Fund Servs., LLC, 4 Cal. App. 5th 574, 600 (2016)
         (emphasis added). However, courts also look to “the context
         in which the language appears.” Id. A contract, therefore,
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         can rebut this presumption with language that “specifically
         provide[s] for attorney’s fees in an action on the contract.”
         Id. at 600–01 (emphasis omitted) (citation omitted). For
         example, the California Court of Appeal read an
         indemnification clause to cover intra-party disputes when
         the clause covered all losses “whether or not arising out of
         third party [c]laims.” Dream Theater, Inc. v. Dream
         Theater, 124 Cal. App. 4th 547, 556–57 (2004). And it did
         the same where an indemnification clause was accompanied
         by a clause clarifying that, in addition to the remedies listed
         in the indemnification clause, each party could also seek
         specific performance for certain breaches of the contract—a
         provision that “would be unnecessary if indemnification
         only referred to third party claims.” Zalkind v. Ceradyne,
         Inc., 194 Cal. App. 4th 1010, 1028 (2011).
             Turning to the facts here, section 10 of the DPLA
         provides that Epic “agree[s] to indemnify and hold harmless,
         and upon Apple’s request, defend, Apple[] . . . from any and
         all claims, losses, liabilities, damages, taxes, expenses and
         costs, including without limitation, attorneys’ fees and court
         costs . . . , incurred by [Apple] and arising from or related
         to” several enumerated grounds. One grounds, clause (i),
         applies to Epic’s “breach of any certification, covenant,
         obligation, representation or warranty in [the DPLA].”
             Clause (i) rebuts the Alki Partners presumption by
         “specifically provid[ing] for attorney’s fees in an action on
         the contract.” 4 Cal. App. 5th at 600–01. It expressly refers
         to Epic’s “breach” of its obligations pursuant to the DPLA—
         contemplating an intra-party action for breach of contract,
         not claims by third parties. The surrounding context of
         section 10 buttresses this conclusion. Section 14.3 of the
         DPLA disclaims that the agreement “is not for the benefit of
         any third parties.” Indeed, Epic has not identified a single
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         situation in which a third-party could possibly sue Apple
         pursuant to clause (i). Therefore, we hold that clause (i)
         contemplates intra-party disputes and Apple is entitled to
         attorney fees pursuant to it. 24
                                    CONCLUSION
              To echo our observation from the NCAA student-athlete
         litigation: There is a lively and important debate about the
         role played in our economy and democracy by online
         transaction platforms with market power. Our job as a
         federal Court of Appeals, however, is not to resolve that
         debate—nor could we even attempt to do so. Instead, in this
         decision, we faithfully applied existing precedent to the facts
         as the parties developed them below. For the foregoing
         reasons, we AFFIRM IN PART AND REVERSE AND
         REMAND IN PART.



         S.R. THOMAS, Circuit Judge, concurring in part and
         dissenting in part:

             I agree with much of the majority opinion. I fully agree
         that the district court properly granted Epic injunctive relief
         on its California Unfair Competition Law claims. I also fully
         agree that the district court properly rejected Epic’s illegality
         defenses to the Developer Program Licensing Agreement
         (“DPLA”) but that, contrary to the district court’s decision,
         the DPLA does require Epic to pay attorney fees for its
         breach. On the federal claims, I also agree that the district

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            We express no opinion on what portion of Apple’s attorney fees
         incurred in this litigation can be fairly attributed to Epic’s breach of the
         DPLA, such that they fall within the scope of clause (i).
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         court erred in defining the relevant market and erred when it
         held that a non-negotiated contract of adhesion falls outside
         of the scope of Section 1 of the Sherman Act. However,
         unlike the majority, I would not conclude that these errors
         were harmless. An error is harmless if it “do[es] not affect
         the substantial rights of the parties.” 28 U.S.C. § 2111. The
         district court’s errors relate to threshold analytical steps, and
         the errors affected Epic’s substantial rights. Thus, I would
         reverse the district court and remand to evaluate the claims
         under the correct legal standard.
             “A threshold step in any antitrust case is to accurately
         define the relevant market . . . .” Fed. Trade Comm’n v.
         Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020).
         “Without a definition of [the] market there is no way to
         measure [the defendant’s] ability to lessen or destroy
         competition.” Ohio v. Am. Express Co., 138 S. Ct. 2274,
         2285 (2018) (alterations in original) (quoting Walker
         Process Equip., Inc. v. Food Mach. & Chem. Corp., 382 U.S.
         172, 177 (1965)).
             I agree with the majority that the district court erred in
         rejecting Epic’s proffered foremarket. The district court
         rejected the foremarket of mobile operating systems because
         Apple does not sell or license its operating system separately
         from its smartphones. But we have previously recognized
         that such a market can exist. See Digidyne Corp. v. Data
         Gen. Corp., 734 F.2d 1336, 1338–39 (9th Cir. 1984),
         implicitly overruled on other grounds by Ill. Tool Works Inc.
         v. Indep. Ink, Inc., 547 U.S. 28, 31 (2006) (holding that
         separate markets existed for software and hardware even
         when they were always bundled together).
             The district court then rejected Epic’s proposed
         aftermarket of solutions for iOS app payment processing
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         (“IAP”) because IAP is integrated into the operations
         system. This conclusion was not only legally erroneous, but
         in contradiction to the district court’s factual finding of
         separate demand. See Jefferson Parish Hosp. Dist. No. 2 v.
         Hyde, 466 U.S. 2, 19 (1984) (“[W]hether one or two
         products are involved turns . . . on the character of the
         demand for the two items . . . . not on the functional relation
         between them . . . .”).
             I also agree with the majority that the district court erred
         in holding that a non-negotiated contract of adhesion falls
         outside of the scope of § 1 of the Sherman Act and, therefore,
         the Developer Program License Agreement was not a
         contract covered under § 1.            “‘[E]very commercial
         agreement’. . . among two or more entities” qualifies as a §
         1 agreement. Paladin Assocs., Inc. v. Mont. Power Co., 328
         F.3d 1145, 1154 n.7 (9th Cir. 2003) (emphasis in original)
         (quoting Nw. Wholesale Stationers, Inc. v. Pac. Stationery
         & Printing Co., 472 U.S. 284, 289 (1985)). This includes a
         contract of adhesion. See Perma Life Mufflers, Inc. v. Int’l
         Parts Corp., 392 U.S. 134, 141–142 (1968), overruled on
         other grounds by Copperweld Corp. v. Indep. Tube Corp.,
         467 U.S. 752, 777 (1984).
             The majority holds that the errors were harmless given
         the district court’s analysis of the remaining steps in the Rule
         of Reason analysis. However, there is no direct authority for
         that proposition, and it amounts to appellate court fact-
         finding. Indeed, the Supreme Court has instructed that
         “courts usually cannot properly apply the rule of reason
         without an accurate definition of the relevant market.” Am.
         Express, 138 S. Ct. at 2285.
            Correction of these errors would have changed the
         substance of the district court’s Rule of Reason analysis. See
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         Qualcomm, 969 F.3d at 992. Unless the correct relevant
         market is identified, one cannot properly assess
         anticompetitive effects, procompetitive justifications, and
         the satisfaction of procompetitive justifications through less
         anticompetitive means. The analysis is different; therefore,
         the errors affected substantial rights and cannot be
         considered harmless.
            Relying on the district court’s market does not solve this
         problem. The parties formulated arguments around their
         own markets—not the district court’s market. Remand
         would have given the parties an opportunity to argue
         whether the DPLA worked unfair competition in the district
         court’s market.
             The effect on substantial rights in this case is magnified
         by the majority’s holding that, under County of Tuolumne v.
         Sonora Community Hospital, when the plaintiff shows
         anticompetitive effects but fails to show a less restrictive
         alternative to the defendant’s procompetitive justification,
         the court must balance the anticompetitive harms against the
         procompetitive benefits. 236 F.3d 1148, 1160 (9th Cir.
         2001). The district court did not undertake a formal
         Tuolumne balancing analysis as such, although the majority
         concludes that the district court’s analysis was sufficient.
         Remand for a formal balancing should be required.
         Regardless, the effect of the legal errors on any balancing is
         obvious. The district court analyzed anticompetitive effects
         in terms of increases in the cost of mobile gaming
         transactions—the court’s relevant market. But the court
         could have found greater increases in costs if its analysis
         concerned Epic’s markets, and this would change a properly
         conducted balancing analysis. In essence, any balancing
         done out of the context of a relevant market necessarily
         involves putting a thumb on the balancing scale.
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         Accordingly, the district court’s legal errors “affect[ed
         Epic’s] substantial rights” and therefore were not harmless.
         See 28 U.S.C. § 2111. I would remand for the district court
         to re-analyze the case using the proper threshold
         determination of the relevant market.
             Therefore, I respectfully concur in part and dissent in
         part.
